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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION



 VIRGINIA INNOVATION SCIENCES,
 INC.
                                                      Civil Action No. 4:18-cv-474
                                                      Judge Mazzant
 v.

 AMAZON.COM, INC., et al



 INNOVATION SCIENCES, LLC

                                                      Civil Action No. 4:18-cv-475
 v.                                                   Judge Mazzant
 RESIDEO TECHNOLOGIES, INC.


 INNOVATION SCIENCES, INC.

                                                      Civil Action No. 4:18-cv-476
 v.                                                   Judge Mazzant
 HTC CORPORATION


 INNOVATION SCIENCES, INC.
                                                      Civil Action No. 4:18-cv-477
                                                      Judge Mazzant
 v.

 VECTOR SECURITY, INC.


                         MEMORANDUM OPINION AND ORDER

       Pending before the Court are Motion of Defendant Amazon.com, Inc. to Transfer Venue

to the Eastern District of Virginia (“Amazon’s Motion to Transfer”), Virginia Innovation Sciences,

Inc. v. Amazon.com, Inc. (“Amazon III”), 4:18-cv-474, (Dkt. #9); Plaintiff’s Contested Motion to

Substitute Party (“Motion to Substitute”), Amazon III, 4:18-cv-474, (Dkt. #22); Motion to Stay of
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Amazon.com, Inc., Amazon Digital Services, LLC, and Amazon Web Services, Inc.1 Pending

Decision on Their Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a) (“Motion to Stay”),

Amazon III, 4:18-cv-474, (Dkt. #105); Honeywell International Inc.’s Motion to Dismiss for

Improper Venue Under 28 U.S.C. § 1406, or, in the Alternative, to Transfer to a More Convenient

Forum Under 28 U.S.C. § 1404 (“Honeywell’s Motion to Dismiss or Transfer”), Innovation

Sciences, LLC v. Resideo Technologies, Inc. (“Resideo”), 4:18-cv-475, (Dkt. #15); Motion of

Defendant HTC Corporation to Transfer Venue to the Eastern District of Virginia (“HTC’s Motion

to Transfer”), Innovation Sciences, LLC v. HTC Corporation (“HTC III”), 4:18-cv-476,

(Dkt. #22); and Motion of Defendant Vector Security, Inc. to Transfer Venue to the Eastern

District of Virginia Pursuant to 28 U.S.C. § 1404(a) (“Vector’s Motion to Transfer”), Innovation

Sciences, LLC v. Vector Security, Inc. (“Vector”), 4:18-cv-477, (Dkt. #16). Having considered the

motions and the relevant pleadings, the Court finds that Amazon’s Motion to Transfer,

Honeywell’s Motion to Dismiss or Transfer, HTC’s Motion to Transfer, and Vector’s Motion to

transfer should be denied, that the Motion to Stay should be denied as moot, and the Motion to

Substitute should be granted.

                                               BACKGROUND

        The four above-mentioned patent lawsuits presently before the Court have been

consolidated for pretrial purposes. The patent infringement allegations include U.S. Patent No.

9,723,443 (“the ’443 Patent”) and the ’798 Patent Family, including U.S. Patent Nos. 9,942,798

(“the ’798 Patent”), 9,912,983 (“the ’983 Patent”), and U.S. Patent No. 9,729,918 (“the ’918

Patent”) (collectively “the patents-in-suit”). Plaintiff asserts the ’443 Patent and the ’798 Patent

Family against Defendant Amazon.com, Inc. (“Amazon”), the ’983 Patent against Honeywell


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 On March 22, 2019, Plaintiff filed an Amended Complaint, adding Amazon Digital Services, LLC and Amazon Web
Services, Inc. Amazon III, 4:18-cv-474, (Dkt. #79).

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International, Inc. (“Honeywell”), the ’798 Patent Family against HTC Corporation (“HTC”), and

the ’983 Patent against Vector Security, Inc. (“Vector”).2

           Plaintiff alleges that Amazon infringes the ’798 Patent Family with the Amazon Echo,

Echo Plus, Echo Show along with Amazon’s Alexa Voice Service and associated back-end servers

(the “Accused Echo Instrumentalities”), the Amazon Dash Button, Dash Replenishment Service

(the “Accused Dash Instrumentalities”), and the Amazon Fire TV and family of devices associated

and back-end servers (the “Accused Fire TV Instrumentalities”). Amazon III, 4:18-cv-474,

(Dkt. #1). Plaintiff alleges Amazon infringes the ’443 Patent with Accused Dash Instrumentalities.

Amazon III, 4:18-cv-474, (Dkt. #1). Plaintiff alleges that Honeywell infringes the ’983 Patent with

its wireless hub system, which includes the L5200 and L7000 series security systems, the C2 Wi-

Fi Security Camera, Honeywell Smart Home Security System, and associated mobile apps (the

“Accused Honeywell Instrumentalities”). Resideo, 4:18-cv-475, (Dkt. #1). Plaintiff alleges that

HTC infringes the ’798 Patent Family with a wireless hub system and wireless apparatus, including

the HTC U 11 and U 12 smartphones (the “Accused HTC Instrumentalities”). HTC III, 4:18-cv-

476, (Dkt. #1). Plaintiff alleges Vector infringes the ’983 Patent with its wireless hub system,

which includes the Vector Security Home Security System, the Vector Security Home Security

Video System, the Vector Security Voice Control with Amazon’s Echo Dot, and the Vector

Security Mobile App (the “Accused Vector Instrumentalities”). Vector, 4:18-cv-477, (Dkt. #1).

           On October 1, 2018, Amazon filed Amazon’s Motion to Transfer Venue. Amazon III, 4:18-

cv-474, (Dkt. #9). Plaintiff sought five extensions of time to file a response to the motion. Amazon

III, 4:18-cv-474, (Dkt. #11; Dkt. #13; Dkt. #15; Dkt. #17; Dkt. #20). As they were filed

unopposed, the Court granted the motions. Amazon III, 4:18-cv-474, (Dkt. #12; Dkt. #14;



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    Amazon, Honeywell, HTC, and Vector will collectively be referred to as Defendants.

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Dkt. #16; Dkt. #18; Dkt. #21). On December 4, 2018, Plaintiff filed its response to Amazon’s

motion to transfer. Amazon III, 4:18-cv-474, (Dkt. #24). Amazon filed a reply on December 18,

2018 (Dkt. #28) and Plaintiff filed a sur-reply on December 26, 2018. Amazon III, 4:18-cv-474,

(Dkt. #30). Further, on May, 10, 2019, Amazon filed its Notice of Supplemental Evidence in

Support of Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a). Amazon III, 4:18-cv-474,

(Dkt. #113). Plaintiff filed a response to the supplemental evidence on May 15, 2019. Amazon

III, 4:18-cv-474, (Dkt. #117).

         Also, during this time, on November 29, 2018, prior to filing its response to Amazon’s

Motion to Transfer, Plaintiff filed its Motion to Substitute. Amazon III, 4:18-cv-474, (Dkt. #22).

Amazon filed a response on December 13, 2018. Amazon III, 4:18-cv-474, (Dkt. #25). On

December 20, 2018, Plaintiff filed a reply to the motion. Amazon III, 4:18-cv-474, (Dkt. #29). No

sur-reply was filed.

         On October 2, 2018, Honeywell filed Honeywell’s Motion to Dismiss or Transfer.

Resideo, 4:18-cv-475, (Dkt. #15). Plaintiff sought four extensions of time to file a response.

Resideo, 4:18-cv-475, (Dkt. #20; Dkt. #22; Dkt. #24; Dkt. #27). As they were filed unopposed,

the Court granted the motions. Resideo, 4:18-cv-475, (Dkt. #21; Dkt. #23; Dkt. #25; Dkt. #28).

Plaintiff filed its response on December 4, 2018. Resideo, 4:18-cv-475, (Dkt. #31). On December

7, 2018, Honeywell field a supplemental brief in support of the motion. Resideo, 4:18-cv-475,

(Dkt. #35). Plaintiff filed a response to the supplemental brief on December 14, 2018. Resideo,

4:18-cv-475, (Dkt. #38). Additionally, on December 18, 2018, Honeywell filed its reply to the

motion. Resideo, 4:18-cv-475, (Dkt. #43). Finally, Plaintiff filed its sur-reply on December 26,

2018. Resideo, 4:18-cv-475, (Dkt. #46).3


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  The parties in this case also filed redacted copies of the motion, response, and reply. However, as the initial briefing
is filed under seal, the Court references the initial briefing.

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       On December 27, 2018, HTC filed HTC’s Motion to Transfer. HTC III, 4:18-cv-476,

(Dkt. #22). On January 11, 2019, Plaintiff filed its response. HTC III, 4:18-cv-476, (Dkt. #30).

Then, HTC filed its reply on January 18, 2019. HTC III, 4:18-cv-476, (Dkt. #32). Finally, on

January 28, 2019, Plaintiff filed a sur-reply. HTC III, 4:18-cv-476, (Dkt. #34).

       On November 15, 2018, Vector filed Vector’s Motion to Transfer. Vector, 4:18-cv-477,

(Dkt. #16). Plaintiff filed its response on November 29, 2018. Vector, 4:18-cv-477, (Dkt. #21).

Vector filed its reply on December 7, 2018, and Plaintiff filed its sur-reply on December 17, 2018.

Vector, 4:18-cv-477, (Dkt. #27; Dkt. #30).

       On April 29, 2019, Amazon filed its Motion to Stay pending the resolution of the motion

to transfer venue. Amazon III, 4:18-cv-474, (Dkt. #105). Vector, HTC, and Honeywell joined in

the motion. Amazon III, 4:18-cv-474, (Dkt. #106; Dkt. #107; Dkt. #110). On May 13, 2019,

Plaintiff filed a response to the motion. Amazon III, 4:18-cv-474, (Dkt. #115). On May 14, 2019,

Defendants filed their Joint Notice of Ripeness Regarding Motion to Stay Pending Decision on

Motions to Transfer Venue Pursuant to 28 U.S.C. § 1404(a).             Amazon III, 4:18-cv-474,

(Dkt. #116).

       On July 2, 2019, Defendants filed their Joint Notice of Ripeness Regarding Pending

Motions. Amazon III, 4:18-cv-474, (Dkt. #149). Further, on July 3, 2019, Amazon filed its Notice

of Relevant Federal Circuit Determination in Support of Motions to Transfer Venue Pursuant to

28 U.S.C. § 1404(a). Amazon III, 4:18-cv-474, (Dkt. #156). On July 8, 2019, Plaintiff filed a

response to the notice. Amazon III, 4:18-cv-474, (Dkt. #159). On July 12, 2019, Plaintiff filed a

supplemental response to the notice. Amazon III, 4:18-cv-474, (Dkt. #160).




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                                                           ANALYSIS

    I.        Motion to Substitute

         Plaintiff seeks to substitute Innovation Sciences, LLC (“Innovation”) for Virginia

Innovation Sciences, Inc. (“VIS”) as plaintiff in this case because VIS merged into Innovation.

VIS was terminated and all issued and outstanding stock of VIS was converted into limited liability

company membership interests in Innovation. Plaintiff maintains that VIS no longer exists, and

holds no right, title, or interest in the patents-in-suit. Innovation now holds all rights, title, and

interest in the patents-in-suit. Therefore, according to Plaintiff, Innovation is the proper plaintiff

in this case. Amazon4 contests the Motion to Substitute, arguing that the merger is a sham to

manipulate venue. However, the Court finds these arguments more appropriate for a discussion

on the motions to transfer venue, as opposed to the Motion to Substitute.5 Instead, the Court

focuses on the law surrounding party substitution.

         Federal Rule of Civil Procedure 25(c) dictates that “[i]f an interest is transferred, the action

may be continued by or against the original party unless the court, on motion, orders the transferee


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  A motion to substitute was filed in all of the consolidated cases. Honeywell, HTC, and Vector no longer oppose the
motions to substitute in their respective cases. Amazon is the only remaining defendant who contests the substitution.
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  Amazon attempts to support its position that this is a reason to deny a motion to substitute party with three cases,
which fall short. First, Amazon cites Advanced Marketing Group, Inc. v. Business Payment Systems, LLC arguing
that the Southern District of New York denied a motion to substitute when there was a question about whether an asset
transfer was a sham. 269 F.R.D. 355, 359 (S.D.N.Y. 2010). However, upon the Court’s review, and as argued by
Plaintiff, there was the additional fact in that case that the defendant had transferred its assets to a third party, allowing
the third party to assert the defendant’s counterclaims in the suit, but providing immunity for any of defendant’s
liability. Id. at 357–58. The court focused on the fact that substituting the party would complicate what was currently
a simple case. Id. The complications included the question of whether the transfer agreement was a sham, but it was
not singularly dispositive. Next, Amazon relies on Virtue Global Holdings, Limited v. Rearden LLC for the
proposition that a court should not grant a motion to substitute when the motion is based on false representations. No.
15-cv-797-JST, 2016 WL 4259213, at *5 (N.D. Cal. Aug. 11, 2016). However, in Virtue Global, the court granted a
stipulated motion to substitute party based on representations that the substituted party would participate in the
litigation. Subsequently, that turned out to be false and the court withdrew the substitution. Id. There is nothing
similar in the present case. Finally, Amazon maintains that Ultimax Cement Manufacturing Corporation v. CTS
Manufacturing Corporation supports its position that the Court should not grant a motion to substitute when it does
not promote clarity and judicial economy. No. SA CV 02-578, 2010 WL 11484178, at *3 (C.D. Cal. July 23, 2010).
While the Central District of California found the facts of that case would not promote clarity and judicial economy,
they are dissimilar from the facts presented here. Id. In that case, the original party had potential liability in the case
that would not be bound to the successor-in-interest. Id. Such, is not the case here.

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to be substituted in the action or joined with the original party.” As has previously been identified

in the Eastern District of Texas, “[a] ‘transfer of interest,’ as described in Rule 25(c), includes

circumstances where a corporation is the successor to the original corporate party by merger.”

IDQ Operating, Inc. v. Aerospace Commc’ns Holding, 6:15-cv-781, 2016 WL 6877772, at *1

(E.D. Tex. July 5, 2016). This is a permissive rule that is generally left to the Court’s discretion.

See id.

          Here, a merger occurred and “the separate existence” of VIS “ceases” to exist. Rosenbrock

v. Deutsche Lufthansa, A.G., Inc., No. 6:16-cv-3, 2016 WL 2756589, at *7 (S.D. Tex. May 9,

2016), report and recommendation adopted by, 2016 WL 11088850 (S.D. Tex. June 21, 2016)

(quoting TEX. BUS. ORG. CODE § 10.008(a)(1)). At that time, “‘all liabilities and obligations of

[VIS was] allocated to [Innovation] in the manner provided by the plan of merger.’” Jacob v. BAC

Home Loan Servicing, LP, No. MO-14-cv-36, 2014 WL 11531132, at *2 (W.D. Tex. Aug. 11,

2014) (quoting TEX. BUS. ORG. CODE § 10.008(a)(3)). As there is an active proceeding pending,

the litigation may continue as if the merger did not occur or Innovation, the party “‘to which the

liability, obligation, asset, or right associated with that proceeding is allocated to and vested in

under the plan of merger[,] may be substituted in the proceeding.’” Id. (quoting TEX. BUS. ORG.

CODE § 10.008(a)(5)). The Court finds the latter course of action is appropriate here as Innovation

is the real party-in-interest and is the party that has all substantial rights in the patents-in-suit. See

id.; IDQ Operating, 2016 WL 6877772, at *1.

          Not only will substitution allow the real party-in-interest to be the plaintiff in this suit, but

it also simplifies the case, which is a “primary consideration” in deciding this motion. Advanced

Mktg. Grp., 269 F.R.D. at 359 (quotations omitted). Here, the other three defendants in the pending

cases, which have been consolidated for pretrial purposes, have agreed to the substitution and



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granting the motion as to Amazon will allow the plaintiff to be the same in all four cases.

Considering these facts, the Court finds substitution is appropriate.           See Jacob, 2014 WL

11531132, at *2; IDQ Operating, 2016 WL 6877772, at *2; Advanced Mktg. Grp., 269 F.R.D. at

359.

    II.      Motion to Dismiss or Transfer Based on Improper Venue

          Honeywell first moves to dismiss or transfer this case arguing that venue is improper in the

Eastern District of Texas. Plaintiff maintains that venue is proper in the Eastern District of Texas.

          Federal Rule of Civil Procedure 12(b)(3) allows a party to move to dismiss an action for

“improper venue.” FED. R. CIV. P. 12(b)(3). It has been held “as a matter of Federal Circuit law

that, upon motion by the Defendant challenging venue in a patent case, the Plaintiff bears the

burden of establishing proper venue.” In re ZTE (USA), Inc., 890 F.3d 1008, 1013 (Fed. Cir.

2018). The Court “must accept as true all allegations in the complaint and resolve all conflicts in

favor of the plaintiff.” Mayfield v. Sallyport Glob. Holdings, Inc., No. 6:13-cv-459, 2014 WL

978685, at *1 (E.D. Tex. Mar. 5, 2014) (citing Ambraco, Inc. v. Bossclip, B.V., 570 F.3d 233, 237–

38 (5th Cir. 2009)). In determining whether venue is proper, “the [C]ourt is permitted to look at

evidence in the record beyond simply those facts alleged in the complaint and its proper

attachments.” Ambraco, 570 F.3d at 238 (quotations omitted). If venue is improper, the Court

“shall dismiss, or if it be in the interest of justice, transfer such case to any district or division in

which it could have been brought.” 28 U.S.C. § 1406(a); FED. R. CIV. P. 12(b)(3).

          Venue in patent infringement actions is governed by 28 U.S.C. § 1400(b). Fourco Glass

Co. v. Transmirra Prods. Corp., 353 U.S. 222, 229 (1957); TC Heartland LLC v. Kraft Foods Grp.

Brands LLC, 137 S. Ct. 1514, 1519 (2017) (holding § 1400(b) “is the sole and exclusive provision

controlling venue in patent infringement actions”). Under § 1400(b), venue is only proper (1) in



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the district in which the defendant resides or (2) in a district “where the defendant has committed

acts of infringement and has a regular and established place of business.” 28 U.S.C. § 1400(b). In

TC Heartland, the Supreme Court reiterated that, under the first prong, “for purposes of § 1400(b)

a domestic corporation ‘resides’ only in its State of incorporation.” 137 S. Ct. at 1517. Under the

second prong, a regular and established place of business must be (1) “a physical place in the

district,” (2) that is “a regular and established place of business,” and (3) “it must be the place of

the defendant.” In re Cray, Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017).

         In the present case, the parties agree that venue is not proper under the first “residence”

prong of § 1400(b). The dispute lies in the second “regular and established place of business”

prong. There are four facilities involved in the present dispute, which are located the Eastern

District of Texas, specifically in Plano,6 Richardson, Orange, and Beaumont. Honeywell contends


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  Honeywell challenges that this location cannot support venue because it is not “of the defendant.” According to
Honeywell, the Plano facility is actually owned by its subsidiary Intermec Technologies Corporation (“Intermec”) and
that cannot be imputed onto Honeywell for purposes of establishing venue unless Intermec and Honeywell have
disregarded corporate separateness. Several district courts have found that in order to impute a subsidiary company’s
regular and established place of business on a parent corporation, the two “must lack formal corporate separateness,
which is a difficult standard to meet.” E.g., Soverain IP, LLC v. AT&T, Inc., No. 2:17-cv-293, 2017 WL 5126158-
RWS-RSP, at *1 (E.D. Tex. Oct. 31, 2017), report and recommendation adopted by, 2017 WL 6452802 (E.D. Tex.
Dec. 18, 2017) (holding “a subsidiary’s presence in a venue cannot be imputed to a parent unless the corporations
disregard their separateness and act as a single enterprise,” but also noting that there may be things “in the record to
indicate specific or unusual circumstances that justif[y] ignoring the corporate separateness.”). Plaintiff makes an
intriguing argument that the Federal Circuit’s holding in In re ZTE should be applied in this case and to related entities
in general, as opposed to narrowly applying when dealing with a third-party’s facility. In In re ZTE, the Federal
Circuit explained that “to be complete, the district court must give reasoned consideration to all relevant factors or
attributes of the relationship in determining whether those attributes warrant [a third-party partner’s facility] being
deemed a regular and established place of business of [a defendant].” In re ZTE, 890 F.3d at 1015. Based on this,
Plaintiff argues the Court should look to the factors laid out in both In re Cray and In re ZTE to see if Honeywell on
its own, as opposed to the subsidiary, meets the factors. The factors established by these two cases are essentially: (1)
whether the defendant owns or leases the building or the equipment; (2) whether the defendant holds the business out
to be its place with signage, marketing, advertisements, website listings, or telephone listings; (3) the relationship
between the defendant and the employees or the defendant and the third-party or subsidiary; (4) whether the physical
place was directed by the defendant or whether it can move locations without the permission of the defendant; and (5)
any other relevant factors to determine the extent of the relationship. See id.; In re Cray, 871 F.3d at 1364. The Court
notes that Plaintiff presented some evidence that Honeywell meets these factors and also that maybe corporate
formalities are not being kept between the two entities (including that, Honeywell seems to control, at least in part,
the general policy of the subsidiary and may have an overlapping officer, Resideo, 4:18-cv-475, (Dkt. #31 at p. 12);
Honeywell has, at least, two signs on or around the Plano Facility, Resideo, 4:18-cv-475, (Dkt. #31, Exhibit 30);
Honeywell is associated with the Plano facility through google maps, Resideo, 4:18-cv-475, (Dkt. #31, Exhibit 30);
Honeywell is involved with the employees at the Plano facility as it lists job postings for that location, Resideo, 4:18-

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 that, despite these four locations, venue is not proper in the Eastern District of Texas. As to the

 Richardson, Orange, and Beaumont facilities, Honeywell does not challenge that these locations

 are physical locations, of regular and established places of business, or of the defendant, instead

 admitting that it maintains these addresses.7 Regardless, Honeywell contends that they cannot

 serve as a basis for venue because they are not pleaded and are not related to the alleged

 infringement. The Court addresses both arguments in turn.

          First, Honeywell avers that because Plaintiff did not plead the Richardson, Orange, and

 Beaumont facilities as a basis for venue in its complaint, the Court cannot consider these locations

 in its analysis. Plaintiff counters that it did not exclusively plead Plano as the basis for proper




 cv-475, (Dkt. #31, Exhibit 31; Dkt. #31, Exhibit 32; Dkt. #31, Exhibit 33; Dkt. #31, Exhibit 34; Dkt. #31, Exhibit 35);
 Intermec’s LinkedIn page lists the company as “Intermec by Honeywell”, directs its viewers to Honeywell’s website
 as its own, and also lists 1385 current employees, which appears unlikely for a subsidiary of a company in Plano and
 seems more likely to include Honeywell employees in that number, Resideo, 4:18-cv-475, (Dkt. #33, Exhibit 29); that
 LinkedIn page can be compared to the LinkedIn page of Intermec Technologies Corporation—the alleged subsidiary
 of Honeywell located in Plano—maintaining its own LinkedIn page listing only nineteen employees, none of whom
 work in Texas, much less in Plano, Resideo, 4:18-cv-475, (Dkt. #31 at p. 14 n.6 (citing
 https://www.linkedin.com/company/intermec-technologies-corporation)); in its SEC 10-K filings, Intermec,
 incorporated in Washington, was listed as a subsidiary in 2013; however, in 2017 it changed to Intermec Technologies
 (S) Pte Ltd incorporated in Singapore leaving off any mention of Intermec, the corporation at issue here, from its
 filings, suggesting that Intermec may no longer be a subsidiary, Resideo, 4:18-cv-475, (Dkt. #31, Exhibit 26 at p. 230;
 Dkt. #33, Exhibit 27 at p. 121); and finally, regardless of whether it is Intermec or Intermec Technologies (S) Pte Ltd,
 Honeywell owns 100% of the stock of Intermec, Resideo, 4:18-cv-475, (Dkt. #33, Exhibit 26 at p. 230; Dkt. #31,
 Exhibit 27 at p. 121)). Plaintiff additionally asked for venue discovery to be able to provide more evidence on this
 issue. However, the Court does not find venue discovery necessary as it finds venue to be established through the
 other three Honeywell locations in the Eastern District of Texas. Accordingly, the Court does not rule on whether
 Honeywell and Intermec have disregarded corporate formalities, whether In re ZTE changed the analysis for related
 entities, or whether Plaintiff met its burden to show that Honeywell in fact met the argued updated analysis for parents
 and subsidiaries.
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   As previously identified and established by the Federal Circuit, once a defendant challenges venue, it is the plaintiff’s
 burden to prove venue. Moreover, to prove a regular and established place of business for purposes of § 1400(b),
 there are three factors: (1) “a physical place in the district,” (2) that is “a regular and established place of business,”
 and (3) “it must be a place of the defendant.” In re Cray, Inc., 871 F.3d at 1361. Here, Honeywell does not challenge
 any of the three factors. In fact, Honeywell acknowledges that it “maintains other addresses located in the Eastern
 District of Texas[.]” Resideo, 4:18-cv-475, (Dkt. #15 at pp. 11–12; Dkt. #15, Exhibit 1 ¶ 8). Although it is Plaintiff’s
 burden to prove a regular and established place of business, because Honeywell did not challenge these three factors,
 and instead acknowledges “maintain[ing]”and “havi[ng ]”, Resideo, 4:18-cv-475, (Dkt. #15 at pp. 11–12; Dkt. #15,
 Exhibit 1 ¶ 8), a physical place in the district that produces chemicals, materials, devices, and services, (Dkt. #15,
 Exhibit 1 ¶ 8), Plaintiff need not prove each factor. Therefore, the Court finds no need for Plaintiff to respond to
 factors that Honeywell already acknowledged were satisfied.

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 venue.8 The Court agrees with Plaintiff. Plaintiff did not base its venue allegations solely on the

 Plano facility. While Plaintiff only specifically listed the Plano facility, it maintained its right to

 assert other facilities as well: “Honeywell . . . has a regular and established place of business

 within this District, including, without limitation, at [the Plano facility].” Resideo, 4:18-cv-475,

 (Dkt. #1 ¶ 6) (emphasis added). As such, although not specifically pleaded, these three facilities

 are not excluded by Plaintiff’s pleadings. While it is Plaintiff’s burden to plead and prove venue,

 in determining whether venue is proper “the [C]ourt is permitted to look at evidence in the record

 beyond simply those facts alleged in the complaint and its proper attachments.” Ambraco, 570

 F.3d at 238. Both Honeywell and Plaintiff have now provided evidence of these three locations

 inside the Eastern District of Texas, and there is no reason for the Court not to consider them.

 Thus, the Court considers the Richardson, Orange, and Beaumont facilities, even though not

 referenced in the complaint, in determining whether venue is proper.

          Additionally, Honeywell argues that the three locations within the Eastern District of Texas

 are not related to the infringement,9 and thus, cannot serve as a basis for venue in this case pursuant

 to § 1400(b).10 Plaintiff disagrees, arguing that § 1400(b) does not require this.

          The Federal Circuit has not answered the question of whether a defendant’s acts of

 infringement need to be related to the defendant’s regular and established place of business in the




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   Plaintiff also argues that Plaintiff is not under any obligation to plead specific facts in its complaint to support venue;
 however, the case Plaintiff cites as support was decided before the Federal Circuit’s holding in In re ZTE, placing the
 burden on plaintiff to prove venue. Soverain IP, LLC v. Apple, Inc., No. 2:17-cv-204, 2017 U.S. Dist. LEXIS 140039,
 at *8 (E.D. Tex. July 25, 2017). Being before the In re ZTE decision, that court explained “[w]ith the burden of
 establishing improper venue on the defendant, the plaintiff is under no obligation to plead specific facts supporting
 venue in the complaint.” Id. As such, with the burden now on Plaintiff, the Court is not persuaded by Plaintiff’s
 support for its argument. Moreover, Plaintiff argues that if the Court finds its pleading insufficient, the Court should
 permit Plaintiff to amend its complaint as opposed to dismissing or transferring the case. On principle, the Court
 agrees, but the Court finds amending unnecessary at this time.
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   Honeywell does not challenge that there are proper allegations of infringement within the Eastern District of Texas.
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    Honeywell additionally argues the Plano facility is not related to the acts of infringement; however, the Court is not
 analyzing the Plano facility at this time.

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 district. Courts have reached different conclusions in answering this question. The Court, along

 with the majority of courts, finds that the better reasoned approach is that no relation is required

 between the two. See, e.g., Raytheon Co. v. Cray, Inc., 258 F. Supp. 3d 781, 791 (E.D. Tex. 2017),

 mandamus granted on other grounds, In re Cray, 871 F.3d 1355; Bristol-Myers Squibb Co. v.

 Mylan Pharms. Inc., No. 17-379-LPS, 2017 WL 3980155, at *20–21 (D. Del. Sept. 11, 2017)

 (collecting cases); 14D CHARLES ALAN WRIGHT & MILLER, FEDERAL PRACTICE AND PROCEDURE

 § 3823 (4th ed. 2019) (collecting cases) (explaining “[i]f a division of a corporation has a regular

 and established place of business with a district, the test is satisfied, even though the acts of

 infringement were committed by a different division of the corporation that has no regular place

 of business there.”). Section 1400(b) requires only that “the defendant has committed acts of

 infringement and has a regular and established place of business.” 28 U.S.C. § 1400(b) (emphasis

 added); accord Raytheon, 258 F. Supp. 3d at 791 (quotations omitted). “So long as the two

 requirements are satisfied in a particular district—that is, so long as the defendant has committed

 acts of infringement in the district and has a regular and established place of business in that same

 district—venue is proper.” Bristol-Myers, 2017 WL 3980155, at *20. “Nothing in the language

 of [§] 1400(b) justifies the conclusion that a defendant’s place of business in the district must have

 some connection with the accused device.” Raytheon, 258 F. Supp. 3d at 791 (quotations omitted).

        The statute does not state that in order for venue to be proper the defendant is to
        have committed acts of infringement in a district “arising from” a regular and
        established place of business in that district. The statute is silent as to any necessity
        of relationship or connection between the two requirements. The Court does not
        read this statutory silence to contain an implicit nexus requirement. See generally
        Cent. Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511 U.S. 164,
        183–85 (1994) (“[I]t is not plausible to interpret the statutory silence as tantamount
        to an implicit congressional intent to impose . . . liability.”).

 Bristol-Myers, 2017 WL 3980155, at *20 (alteration in original).




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           Honeywell asserts that this holding goes against the Federal Circuit’s holding in In re

 Cordis, Corp., 769 F.2d 733 (Fed. Cir. 1985). The Court is unconvinced. Like the Bristol-Myers

 court, the Court does not ignore the fact that In re Cordis contains language that might suggest a

 relationship requirement. In re Cordis, 769 F.2d at 737 (stating “while there was evidence that the

 sales representative therein conducted seminars with distributors to promote his employer’s

 products, there was no evidence to demonstrate that such activities were carried on concerning the

 specific product which was the subject of the infringement action.”). However, the Court agrees

 with the holding in Bristol-Myers that while the Federal Circuit alludes to a relationship in In re

 Cordis, “its statement does not purport to impose a requirement that such a relationship must

 exist.”    Bristol-Myers, 2017 WL 3980155, at *20.        As such, the Court concludes that no

 relationship is required. Therefore, regardless of whether the Richardson, Orange, or Beaumont

 facilities are actually involved with or related to the accused products, they are regular and

 established places of business located within the Eastern District of Texas and, thus, make venue

 proper in the Eastern District of Texas.

           Although the Court has decided that venue is proper based on the Richardson, Orange, and

 Beaumont facilities, the Court must address the effect of a spin-off Honeywell completed after

 Plaintiff initiated suit. Honeywell has four different business segments: Aerospace; Safety and

 Productivity Solutions; Performance Materials and Technology; and Home and Building

 Technologies. Within the Home and Building Technologies segment, Honeywell has what it calls

 the Homes business unit. On December 7, 2018, Honeywell filed a supplement, notifying the

 Court that Honeywell completed a spin-off of Honeywell’s Homes business unit into a new

 corporate entity called Resideo Technologies (“Resideo”). Resideo, 4:18-cv-475, (Dkt. #35).

 Resideo is now responsible for the design, development, marketing, and distribution of the



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 Accused Honeywell Instrumentalities, as this was a responsibility of the Homes business unit. The

 spin-off includes former Honeywell International subsidiaries ADI Global Distribution (“ADI”)

 and AlarmNet, Inc. (“AlarmNet”). However, it does not include Intermec, which is the subsidiary

 of Honeywell that maintains an office in Plano, Texas. It also did not include the facilities located

 in Richardson, Orange, and Beaumont.

          Plaintiff claims that, at that time, the parties were attempting to work out an agreement to

 substitute Resideo for Honeywell in the present lawsuit. Plaintiff represented it would not agree

 unless Resideo would stand in the shoes of Honeywell for purposes of jurisdiction, venue, and

 determination of the most convenient forum, but no agreement had been reached at that time.

 Related to this discussion, on November 29, 2018, Plaintiff filed a motion to substitute party to

 reflect VIS merging into Innovation. Resideo, 4:18-cv-475, (Dkt. #29). At the time filed, the

 motion was contested. Resideo, 4:18-cv-475, (Dkt. #29). However, on December 18, 2018,

 Honeywell filed a notice of non-opposition, representing to the Court that after meeting and

 conferring, the parties reached an agreement that Honeywell would not oppose Plaintiff’s motion

 to substitute party and Plaintiff would not oppose Honeywell’s motion to substitute. Resideo,

 4:18-cv-475, (Dkt. #44). Subsequently, Honeywell filed its unopposed motion to substitute,

 explaining the spin-off to the Court. Resideo, 4:18-cv-475, (Dkt. #47). There was no explanation

 in any of these filings if the parties’ agreement regarding the motions to substitute included an

 agreement to have Resideo stand in the shoes of Honeywell for purposes of proper venue. The

 Court granted both motions on January 3, 2019. Resideo, 4:18-cv-475, (Dkt. #51; Dkt. #52).11




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    The Court recognizes that it has granted a motion to substitute party, and the defendant is now Resideo as opposed
 to Honeywell. However, for purposes of clarity in this order, the Court will refer to this defendant as Honeywell,
 except as needed to explain the specific facts of the spin-off. In its citations, the Court also refers to the case using
 Resideo, as this is an accurate reflection of the docket. Going forward in the case, the Court will refer to this defendant
 as Resideo.

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           Regardless of any agreement, when determining whether venue is proper, the Court is to

 look at the time the complaint is filed. Norsworthy v. Mystik Transp., Inc., 430 F. Supp. 2d 631,

 633–34 (E.D. Tex. 2006) (citing Harris v. Black Clawson Co., 961 F.2d 547, 549–50 (5th Cir.

 1992); Horihan v. Hartford Ins. Co. of the Midwest, 979 F. Supp. 1073, 1076 (E.D. Tex. 1997));

 see also Pers. Audio, LLC v. Google, Inc., 280 F. Supp. 3d 922, 931 (E.D. Tex. 2017) (reaching

 the same conclusion in a patent case interpreting 28 U.S.C. §1400(b) and referring to Federal

 Circuit and Supreme Court of the United States guidance). Based on this rule, venue is not affected

 by events that occur subsequent to filing, such as the spin-off that occurred in this case.

 Accordingly, the Court does not consider any post-filing facts in its venue analysis and its analysis

 remains unchanged.

    III.      Motion to Transfer Based on Convenience and in the Interest of Justice

           While only Honeywell moves to dismiss, all Defendants ask the Court to transfer the cases

 to the Eastern District of Virginia because they argue that it is the clearly more convenient forum.

 Plaintiff responds that the Eastern District of Virginia is not clearly more convenient.

           Section 1404 permits a district court to transfer any civil case “[f]or the convenience of

 parties and witnesses, in the interest of justice, a district court may transfer any civil action to any

 other district or division where it might have been brought or to any district or division to which

 all parties have consented.” 28 U.S.C. § 1404(a). “Section 1404(a) is intended to place discretion

 in the district court to adjudicate motions for transfer according to ‘an individualized, case-by-case

 consideration of convenience and fairness.’” Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29

 (1988) (quoting Van Dusen v. Barrack, 376 U.S. 612, 622 (1964)). The purpose of § 1404 “is to

 prevent the waste ‘of time, energy and money’ and ‘to protect the litigants, witnesses and the public




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 against unnecessary inconvenience and expense . . . .’” Van Dusen, 376 U.S. at 616 (quoting

 Cont’l Grain Co. v. Barge FBL-585, 364 U.S. 19, 26–27 (1960)).

        The threshold inquiry when determining eligibility for transfer is “whether the judicial

 district to which transfer is sought would have been a district in which the claim could have been

 filed,” or whether all parties consent to a particular jurisdiction.       In re Volkswagen AG,

 371 F.3d 201, 203 (5th Cir. 2004) (“Volkswagen I”). Once that threshold inquiry is met, the Fifth

 Circuit has held “[t]he determination of ‘convenience’ turns on a number of public and private

 interest factors, none of which can be said to be of dispositive weight.” Action Indus., Inc. v. U.S.

 Fid. & Guar. Co., 358 F.3d 337, 340 (5th Cir. 2004) (citations omitted). These enumerated factors

 are neither exhaustive nor exclusive, and no single factor is dispositive. In re Volkswagen of Am.,

 Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc) (“Volkswagen II”).

        The party seeking transfer of venue must show good cause for the transfer. Id. The moving

 party must show that the transferee venue is “clearly more convenient” than the transferor venue.

 Id. The plaintiff’s choice of venue is not a factor in this analysis, but rather contributes to the

 defendant’s burden to show good cause for the transfer. Id. at 314, 314 n.10 (“[W]hile a plaintiff

 has the privilege of filing his claims in any judicial division appropriate under the general venue

 statute, § 1404(a) tempers the effects of the exercise of this privilege.”). However, “when the

 transferee venue is not clearly more convenient than the venue chosen by the plaintiff, the

 plaintiff’s choice should be respected.” Id. at 315. And while the multi-factor analysis is

 informative, ultimately, “‘the district court has broad discretion in deciding whether to order a

 transfer.’” Balawajder v. Scott, 160 F.3d 1066, 1067 (5th Cir. 1998) (quoting Caldwell v. Palmetto

 State Sav. Bank, 811 F.2d 916, 919 (5th Cir. 1987)).




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          The Court addresses the Defendants’ motions with these guidelines in mind, first looking

 to the threshold inquiry, then moving to the private interest factors, and concluding with the public

 interest factors. The Court addresses the motions together when it is appropriate to do so, but

 analyzes the motions separately when required to do so.

              A. Threshold Inquiry

          As a threshold matter, the Court must first determine whether venue is proper in the Eastern

 District of Virginia. Vargas v. Seamas Drivers Int’l, LLC, No. 2:10-cv-178, 2011 WL 1980001,

 at *3 (E.D. Tex. May 20, 2011) (citing In re Volkswagen I, 371 F.3d at 203). Plaintiff does not

 dispute that this suit could have originally been filed in the Eastern District of Virginia. Therefore,

 the threshold inquiry is satisfied, and the Court will turn to whether the Eastern District of Virginia

 is the more convenient forum.

              B. The Effect of Merging, Relocating, or Creating a Spin-Off

          Before discussing the convenience factors, the Court must address post-filing events and

 their effect on the convenience analysis.12 There have been two post-filing actions: Plaintiff

 merged and relocated and Defendant Honeywell completed a spin-off, which resulted in a new,

 separate entity—Resideo. The Court addresses both in turn.

          As to Plaintiff’s relocation, a common argument presented throughout all Defendants’

 motions and in several different factors is that the Court should not consider the fact that Plaintiff

 relocated to Texas in its convenience analysis. Defendants maintain that Plaintiff moved to

 manufacture and manipulate venue and, thus, the Court should consider the facts as they existed

 when the lawsuit was filed. Plaintiff responds that the move was not made to manufacture venue

 because venue was already proper prior to the move. Moreover, according to Plaintiff, VIS merged


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   The Court addresses the arguments broadly in this section and will address the effect this has under the appropriate
 factor.

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 into Innovation, which was formed in Texas to benefit from Texas’ tax laws, as opposed to

 attempting to manipulate venue.

          The Court first notes that it agrees with Plaintiff—that any arguments claiming Plaintiff is

 manufacturing venue are unpersuasive. Whether venue is proper is not premised on whether

 Plaintiff is located in Texas or in Virginia. As noted earlier, venue in patent cases is governed by

 28 U.S.C. § 1400(b), which states venue is proper based on the location or actions of the defendant

 and makes no mention of a plaintiff’s location.13

          As to the claims that the Court should consider the facts presented at the time Plaintiff filed

 suit based on Plaintiff’s alleged venue manipulation, the Court notes that there is a bright line rule

 for courts in the Fifth Circuit determining proper venue; that is, Courts are to look at the facts as

 they existed at the time the lawsuit was filed. Norsworthy, 430 F. Supp. 2d at 633–34 (citing

 Harris, 961 F.2d at 549–50); Horihan, 979 F. Supp. at 1076. However, when a motion to transfer

 is at issue, the rule is not as bright.14 “The Supreme Court has long urged courts to ensure that the

 purposes of jurisdictional and venue laws are not frustrated by a party’s attempt at manipulation.”

 In re Microsoft Corp., 630 F.3d 1361, 1364 (Fed. Cir. 2011). As such,

          the Supreme Court explained that Section 1404(a) “should be construed to prevent
          parties who are opposed to a change of venue from defeating a transfer which, but
          for their own deliberate acts or omissions, would be proper, convenient and just.”
          A plaintiff’s attempts to manipulate venue in anticipation of litigation or a motion
          to transfer venue falls squarely within these prohibited activities.




 13
    Under § 1400(b), venue is only proper (1) in the district in which the defendant resides or (2) in a district “where
 the defendant has committed acts of infringement and has a regular and established place of business.” 28 U.S.C.
 § 1400(b) (emphasis added).
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    HTC cites Hoffman v. Blaski, 363 U.S. 335 (1960), for the proposition that convenience needs to be decided based
 on the time the suit was filed, as opposed to considering facts that occurred after suit was filed. However, the Supreme
 Court of the United States considered whether a court could use § 1404 to transfer a case to a court that, at the time
 suit was filed, did not have proper venue. Hoffman, 36 U.S. at 1085–86. The Supreme Court decided that the phrase
 contained in § 1404 “where the action ‘might have been brought’” should not be broadly construed, and that courts
 can only transfer to another court where venue was proper at the time the complaint was filed. Id. at 1098–90.

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 In re Hoffman-La Roche Inc., 587 F.3d 1333, 1337 (Fed. Cir. 2009) (quoting Van Dusen, 376 U.S.

 at 625) (discussing converting evidence into an electronic format and transferring the evidence to

 litigation counsel in Texas, with that being the only connection to Texas). Accordingly, “[t]he

 Federal Circuit cautions that where a plaintiff’s ‘presence in Texas appears to be recent, ephemeral,

 and an artifact of litigation,’ courts should not be misled.” Seven Networks, LLC v. Google LLC,

 No. 2:17-cv-442, 2018 WL 4026760, at *6 (E.D. Tex. Aug. 14, 2018). However, “timing

 alone . . . is not sufficient to establish venue manipulation.” Id.

        Based on this law “the Court takes allegations of venue manipulation seriously” and must

 decide whether such manipulation occurred in this case. Id. This, however, is a fact intensive

 inquiry. Accordingly, the Court compares the facts of this case to the facts presented in other

 cases—a sample of the cases cited by Defendants—to determine whether this case falls into the

 realm of concern posed by the Supreme Court of the United States and the Federal Circuit.

        In In re Hoffman-La Roche, Inc., the Federal Circuit determined that the transfer of 75,000

 pages of documents from the plaintiff’s counsel in California to the plaintiff’s litigation counsel in

 Texas was an action that was made purely in anticipation of litigation. 587 F.3d at 1337. The

 Federal Circuit determined that the action was “a fiction[,] which appear[ed] to be [] created to

 manipulate propriety of venue” and determined it was entitled to no weight in the court’s venue

 analysis. Id.

        In In re Microsoft, Corp., the plaintiff incorporated under the laws of Texas prior to filing

 suit and maintained an office in Texas. 630 F.3d at 1363. However, the office in Texas did not

 employ any individuals and was not the basis of the operations. Id. at 1362. All operations

 attributed to the office in Texas were actually directed by and operated from the United Kingdom.

 Id. The Federal Circuit also noted that



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        “[u]nder modern conditions corporations often obtain their charter from states
        where they no more than maintain an agent to comply with local requirements,
        while every other activity is conducted far from the chartering state.” The Court
        further explained that the “[p]lace of corporate domicile in such circumstances
        might be entitled to little consideration” under the doctrine of forum non
        conveniens, “which resists formalization and looks to the realities that make for
        doing justice.”

 Id. (alterations in original) (quoting Koster v. Lumbermens Mut. Cas. Co., 330 U.S. 518, 527–28

 (1947)). Based on the realities in that case—that the plaintiff actually was operating out of the

 United Kingdom and not Texas—the Federal Circuit found that the district in which the plaintiff

 maintained this office was not the clearly more convenient forum. Id.

        Finally, in In re Zimmer, the plaintiff claimed that the Eastern District of Texas was the

 more convenient forum because that was where it maintained its principal place of business. In re

 Zimmer Holdings, Inc., 609 F.3d 1378, 1381 (Fed. Cir. 2010). However, upon looking at the facts

 of the case, the Federal Circuit determined that the plaintiff’s claim was unsubstantiated, as it

 appeared the plaintiff had merely transported patent prosecution files to an office located in Texas

 that it shared with another of the plaintiff’s counsel’s clients. Id. Further, the plaintiff was an LLC

 with a registered office in Michigan, and the two corporate officers resided in Michigan. Id.

 Accordingly, the Federal Circuit determined the plaintiff’s “presence in Texas appear[ed] to be

 recent, ephemeral, and an artifact of litigation.” Id. The Federal Circuit found this to be “a classic

 case where the plaintiff [was] attempting to game the system by artificially seeking to establish

 venue by sharing office space with another of the trial counsel’s clients.” Id.

        These cases present different scenarios than what is presently before the Court. The Court

 does not ignore the fact that the move is recent. Plaintiff filed suit against Defendants on July 5,

 2018. At this time, Plaintiff was actually its former company, VIS, and located in Virginia.

 Defendants filed their motions on October 1, 2018, October 2, 2018, November 15, 2018, and



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 December 27, 2018. As to the motions filed in October, Plaintiff sought several extensions15 of

 time to respond to the motions, representing conflicts with schedule, seeking new counsel, and the

 new counsel then gaining familiarity with the case. The last of these extensions was filed on

 November 13, 2018. Plaintiff then, on November 29, 2018, filed its motions to substitute party

 based on VIS’s merger into Innovation. Plaintiff then filed responses to the motions to transfer

 starting on November 29, 2018, with its final response being filed on January 11, 2019, using its

 merger and new location to respond to the motions. “The Court does find the timing [of the

 merger] to be worthy of questioning, but [again] timing alone . . . . is not sufficient to establish

 venue manipulation.” Seven Networks, 2018 WL 4026760, at *6.

            Although the merger and relocation were recent, after suit was filed, and after some of the

 motions to transfer were filed, the Court finds the evidence does not support a finding that it is an

 artifact of litigation. In her sworn declaration, Dr. Anne Wong, CEO of Innovation, states that the

 merger was contemplated prior to filing this action.                    Amazon III, 4:18-cv-474, (Dkt. #24,

 Exhibit 23 ¶ 9). This statement was made under the penalty of perjury. Amazon III, 4:18-cv-474,

 (Dkt. #24, Exhibit 23 at p. 6). As such, the Court accepts the statement as a fact of the case. Other

 than the timing of the merger, Defendants presented no concrete evidence to the contrary.

 Moreover, not only were documents moved to Texas, as in In re Zimmer and In re Hoffman-La

 Roche, but the entire company relocated. VIS merged into Innovation, and VIS no longer exists.

 Innovation offices in Plano, not in Virginia. Unlike in In re Hoffman-La Roche, all documents are

 stored in the actual office of Innovation, not of its litigation counsel. Moreover, the office is

 operated from CEO Dr. Anne Wong’s residence, and she is not sharing a residence with any of

 Innovation’s counsel’s other clients, like the facts presented in In re Zimmer. Innovation is actually



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      The extensions were only sought in the two cases with the motions filed on October 1, 2018 and October 2, 2018.

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 operated out of Plano, instead of being operated from another state or country like the facts

 presented in In re Microsoft. As such, the Court does not find this move to be an artifact of

 litigation.

         Finally, there is no evidence to suggest that this move is ephemeral. There are no facts to

 suggest that the company or Dr. Anne Wong will move back to Virginia as soon as litigation is

 complete. The evidence actually suggests the opposite. Dr. Anne Wong has moved herself16 and

 her business to Texas. She rented out her apartment in Virginia and listed her home in Virginia

 for sale. Amazon III, 4:18-cv-474, (Dkt. #117, Exhibit 2; Dkt. #117, Exhibit 3). Finally, Dr. Anne

 Wong also obtained a Texas driver’s license, thereby surrendering her Virginia driver’s license.

 Amazon III, 4:18-cv-474, (Dkt. #117, Exhibit 4). Based on these facts, the Court does not find this

 move to appear ephemeral.

         The Court finds this case aligns with the facts in Cookteck Induction Systems, where even

 though the relocation and merger did not occur until after the commencement of the lawsuit,

 “[p]laintiff had intent to merge and relocate” “[p]rior to the initiation of this lawsuit” and

 “Defendants ha[d] not demonstrated that Plaintiff’s physical relocation after the initiation of this

 suit was an attempt to manufacture venue.” Cooktek Induction Sys., LLC v. I/O Controls Corp.,

 4:15-cv-548, 2016 WL 4095547, at *3 (E.D. Tex. Aug. 2, 2016) (citing Core Wireless Licensing

 S.a.r.l. v. LG Elecs. Inc., No. 2:14-cv-911, 2015 WL 5143395, at *5 n.6 (E.D. Tex. Sept. 1, 2015));

 accord Adaptix, Inc. v. HTC Corp., 937 F. Supp. 2d 867, 872–73 (E.D. Tex. 2013). Because

 Defendants have not met their burden, the Court will consider the consequences of Plaintiff’s




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    The Court does note that in his deposition, Dr. Ronald (Tiejun) Wang stated that Dr. Anne Wong still resided in
 Virginia; however, based on the nature of the question and the number of times that Dr. Ronald (Tiejun) Wang has
 stayed with Dr. Anne Wong in Virginia, the Court does not find this to be a reason to discredit Dr. Anne Wong’s
 statement, and evidence supporting, that she lives in Texas.

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 relocation when addressing the motions to transfer, as opposed to considering the facts as they

 existed at the time of filing.

         Moreover, as previously mentioned when discussing Honeywell’s motion to dismiss for

 improper venue, Honeywell completed a spin-off of its Homes business unit into a new corporate

 entity called Resideo, which includes ADI and AlarmNet. This presents a relevant fact for venue

 considerations, as Resideo is now responsible for the design, development, marketing, and

 distribution of the Accused Honeywell Instrumentalities. ADI is a wholesale distributor of the

 Accused Honeywell Instrumentalities. AlarmNet is responsible for certain communication aspects

 related to the Accused Honeywell Instrumentalities. Similar to Defendants, Plaintiff does not meet

 its burden to suggest that the spin-off was accomplished to manipulate convenience, and thus, the

 Court considers the spin-off and the location of the witnesses and documents of Resideo where

 they are located at this point.

             C. Private Interest Factors

         Defendants maintain that the private interest factors support transfer. Plaintiff disagrees.

 The private interest factors are: “(1) the relative ease of access to sources of proof; (2) the

 availability of compulsory process to secure the attendance of witnesses; (3) the cost of attendance

 for willing witnesses; and (4) all other practical problems that make a trial of a case easy,

 expeditious, and inexpensive.” Volkswagen II, Inc., 545 F.3d at 315 (quotations omitted). The

 Court addresses each in turn.

                       1. The Relative Ease of Access to Source of Proof

         The first private interest factor is the relative ease of access to the sources of proof.

 Volkswagen I, 371 F.3d at 203. In examining this factor, the Court considers the location of

 documentary and physical evidence, as opposed to witnesses. In re Volkswagen II, 545 F.3d at



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 316. “The Fifth Circuit has cautioned this factor remains relevant despite technological advances

 having made electronic document production commonplace.” DataQuill, Ltd. v. Apple Inc., No.

 A-13-CA-706-SS, 2014 WL 2722201, at *3 (W.D. Tex. June 13, 2014) (citing Volkswagen II, 545

 F.3d at 316)). “‘The Federal Circuit has observed that [i]n patent infringement cases, the bulk of

 the relevant evidence usually comes from the accused infringer, and therefore the location of the

 defendant’s documents tends to be the more convenient venue.’” Cooktek Induction Sys., 2016

 WL 4095547, at *3 (alteration in original) (quoting DataQuill, Ltd., 2014 WL 2722201, at *3).

 “However, where evidence is dispersed across venues, this private interest factor will be neutral.”

 Id. (citing Principal Tech. Eng’g, Inc. v. SMI Cos., No. 4:09-cv-316, 2009 WL 4730609, at *5

 (E.D. Tex. Nov. 12, 2009)). The Court addresses each Defendant separately.

                            a. Amazon

        The Amazon briefing on this factor centers on Plaintiff’s merger from VIS into Innovation

 and relocation from Virginia to Texas. According to Amazon, when VIS existed and was located

 in Virginia, the vast majority of all corporate records were located five miles from federal

 courthouse in Alexandria, which is part of the Eastern District of Virginia (“Alexandria

 Courthouse”). Amazon III, 4:18-cv-474, (Dkt. #9, Exhibit 5 ¶ 17). However, VIS no longer exists,

 and Plaintiff’s documents are maintained at Plaintiff’s office in Plano, Texas. Amazon III, 4:18-

 cv-474, (Dkt. #24, Exhibit 23 ¶ 15). Amazon acknowledges that the burden on Amazon is

 relatively the same in either forum. However, Amazon argues that this factor weighs in favor of

 transfer because the Court should not consider the merger and should act as if the documents are

 still in Virginia. As previously discussed, the Court finds that Defendants did not meet their burden




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 to show that Plaintiff is attempting to manipulate venue.17 As such, regarding Amazon, this factor

 weighs slightly against transfer.

                                 b. Honeywell

          Honeywell presents arguments regarding documentary evidence maintained by both

 Plaintiff and Honeywell. As to Plaintiff’s documents, Honeywell presents the same or similar

 arguments as Amazon, which the Court has already addressed. As to its own evidence, Honeywell

 argues that the Eastern District of Virginia is more convenient.

          Plaintiff responds18 that the Court should not transfer the case because a transfer would

 merely shift the burden from Honeywell to Plaintiff. However, the Court is not persuaded. While

 the Court acknowledges that it should not transfer a case if it merely shifts the burden from one

 party to another, it also has to acknowledge the fact that in patent cases, it is presumed that the

 bulk of the evidence comes from the accused infringer. See Goodman Co., L.P. v. A & H Supply,

 Inc., 396 F. Supp. 2d 766, 776 (S.D. Tex. 2005); Cooktek Induction Sys., 2016 WL 4095547, at

 *3. Thus, more weight must be attributed to the accused infringer’s evidence and a transfer would

 not be simply shifting the burden. As such, the Court looks to where Honeywell’s evidence is

 located to determine whether transferring the case to the Eastern District of Virginia is the more

 convenient venue. Honeywell asserts that it has evidence in both the Eastern District of Virginia

 and also Melville, New York, which Honeywell maintains is closer to the Eastern District of

 Virginia than the Eastern District of Texas.




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    The Court notes that even if Defendants had met their burden, the Court would not act as if the documents were still
 in Virginia. Instead, “[a]t most, the Court would simply not consider the documents in its analysis.” Seven Networks,
 2018 WL 4026760, at *6.
 18
    Plaintiff also argues that Honeywell did not specifically identify witnesses that would need to be called at trial and
 did not argue that product design and strategic decisions were made in Virginia. However, this is not the concern of
 this factor and the Court does not consider these arguments.

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        Honeywell argues that it has evidence pertinent to the Accused Honeywell

 Instrumentalities in the Eastern District of Virginia. ADI is headquartered in Melville, New York,

 but maintains four locations in the Eastern District of Virginia: Alexandria; Norfolk; Richmond;

 and Sandston. Resideo, 4:18-cv-475, (Dkt. #35, Exhibit 1 ¶ 7). ADI is a wholesale distributor of

 the Accused Honeywell Instrumentalities and is responsible for sales and distribution of the

 Accused Honeywell Instrumentalities. Resideo, 4:18-cv-475, (Dkt. #35, Exhibit 1 ¶ 7). However,

 Honeywell does not specify any evidence that is maintained in these facilities. While the Court

 recognizes the ADI division may contain documents concerning damages, this was not argued by

 Honeywell. It is critical for a movant to identify specific evidence that is likely to be present in a

 district for the Court to conduct a proper analysis. See Seven Networks, 2018 WL 4026760, at *4.

 Moreover, Honeywell did not suggest that this information is not also kept in Honeywell’s

 principal executive offices and major operations, which are located in Golden Valley, Minnesota

 and Melville, New York—primarily Melville, New York for the Accused Honeywell

 Instrumentalities. It is presumed that the bulk of the discovery material related to a corporate party

 is located in that party’s corporate headquarters or primary offices. See In re Acer Am. Corp., 626

 F.3d 1252, 1256 (Fed. Cir. 2010). Without any argument otherwise, the Court presumes this

 information is available in New York and does not consider its facilities in the Eastern District of

 Virginia.

        As to the evidence maintained in New York, Honeywell likewise does not specifically

 identify evidence present in New York. However, Honeywell argues that

        [t]he vast majority of . . . evidence relevant to the design, development,
        manufacture, marketing, offering, and sales of the [Accused Honeywell
        Instrumentalities], including technical, financial, and marketing evidence . . . are
        based in Melville, New York, approximately 280 miles from the Eastern District of
        Virginia, as opposed to 1,570 miles from [the Eastern District of Texas].



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 Resideo, 4:18-cv-475, (Dkt. #15 at pp. 27–28). The Court finds this argument, along with the

 presumption that the bulk of a company’s evidence is located in its headquarters, is sufficient to

 demonstrate that a majority of relevant evidence in this case will likely come from New York. See

 Seven Networks, 2018 WL 4026760, at *4.

        However, Honeywell is not seeking to transfer the case to New York, where the bulk of its

 evidence is likely located. Rather, Honeywell, along with the other Defendants, asks the Court to

 transfer the cases to the Eastern District of Virginia. The Court only looks to where Honeywell’s

 evidence is located because of the Federal Circuit’s determination that the bulk of the relevant

 evidence comes from the accused infringer and is not shifting the convenience because “the place

 where the defendant’s documents are kept weighs in favor of transfer to that location.” In re

 Genentech, 566 F.3d at 1345 (emphasis added). The Federal Circuit did not hold the same for a

 location that the accused infringer’s documents are close to.

        Nevertheless, the Court does not discount the fact that Honeywell’s sources of proof are

 closer to the Eastern District of Virginia than the Eastern District of Texas. The Court compares

 this to Plaintiff’s sources of proof being located in the Eastern District of Texas, within the

 Sherman Division specifically. The Court also notes that neither Plaintiff’s nor Honeywell’s

 headquarters are located in the Eastern District of Virginia and, as such, transferring this case

 would result in the suit being litigated where neither party is located. Accordingly, the Court finds

 this factor to be neutral as to Honeywell.

                            c. HTC

        HTC’s briefing is similar to Amazon’s in that it focuses on the merger and relocation of

 Plaintiff. However, as opposed to acknowledging that the burden for HTC would be neutral in

 either location, HTC simply does not mention its own burden in relation to this factor.



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 Accordingly, for the same reasons mentioned in Amazon’s analysis, this factor weighs slightly

 against transfer as to HTC.

                                 d. Vector

          Vector presents arguments regarding documentary evidence maintained by both Plaintiff

 and Vector. As to Plaintiff, Vector presents the same or similar arguments as the other Defendants,

 which the Court has already addressed.

          Regarding its own evidence, Vector argues that it “maintains its potentially relevant

 technical, marketing, and financial documents outside of [the Eastern District of Texas], in Fairfax,

 Virginia and Warrendale, Pennsylvania.” Vector, 4:18-cv-477, (Dkt. #16 at p. 11). Accordingly,

 Vector maintains that the burden to transport physical documents or evidence is less with respect

 to the Alexandria Courthouse, than the courthouse in Sherman, Texas of the Eastern District of

 Texas (“Sherman Courthouse”). Plaintiff responds that the Court should not transfer the action to

 simply shift the burden from Plaintiff to Vector, resulting in trial occurring where neither party is

 located.19

          As analyzed above, the Court does not consider finding in favor of transfer on this factor

 to be simply shifting the inconvenience from one party to the other based on the fact that the bulk

 of the relevant evidence comes from the accused infringer in patent cases. The difference in the

 analysis for Vector is some of Vector’s relevant evidence is located in the Eastern District of

 Virginia, which is where it is requesting the Court to transfer this case.20 The Court does note,



 19
    Plaintiff also argues that Vector did not specifically identify witnesses that would need to be called at trial and did
 not argue that product design and strategic decisions were made in Virginia. However, this is not the concern of this
 factor and the Court does not consider these arguments.
 20
    Plaintiff asserts that Vector does not argue that the documents located in Virginia cannot also be found in other
 locations and possibly could be located in Vector’s locations within the Eastern District of Texas. However, Vector
 admits that any electronic documents can be easily transmitted to either location, but only references physical
 documents and/or samples that are located closer to or in the Eastern District of Virginia. Vector, 4:18-cv-477,
 (Dkt. #16 at p. 11).

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 however, that it is merely some of the evidence, as some of it is also in Pennsylvania.21 Moreover,

 again, the Court acknowledges the fact that Plaintiff has evidence in the Eastern District of Texas,

 and Vector’s headquarters are not located in the Eastern District of Virginia; as such, the Eastern

 District of Virginia is not home to any party. Considering all these facts, the Court finds that, as

 to Vector, this factor weighs in favor of transfer, but only slightly.

                             2. The Availability of Compulsory Process to Secure the Attendance of
                               Witnesses

             The second private interest factor is the availability of compulsory process to secure the

 attendance of witnesses. Volkswagen I, 371 F.3d at 203. Under Federal Rule of Civil Procedure

 45, a court may enforce a subpoena issued to any nonparty witness in the State of Texas to appear

 at trial, provided the party does not incur substantial expense. FED. R. CIV. P. 45(c)(1)(B).

 Similarly, a court may enforce any subpoena for a deposition to be taken within its boundaries,

 provided that the deposition is taken no more than 100 miles from a location where the person

 resides, is employed, or regularly transacts business in person. FED. R. CIV. P. 45 (a)(2); FED. R.

 CIV. P. (c)(1)(A). Moreover, party witnesses do not require compulsory process for trial and are

 not given much weight in this factor. Rather, the focus of this factor is on witnesses for whom

 compulsory process to attend trial might be necessary. See Ingeniador, LLC v. Adobe Sys. Inc.,

 No. 2:12-cv-805, 2014 WL 105106, at *2 (E.D. Tex. Jan. 10, 2014).

             The Court addresses each Defendant separately for this analysis in order to weigh the factor

 accurately; however, as there is strong overlap between the arguments, the Court references

 arguments, analysis, and conclusions made in prior sections as it deems fit for efficiency.




 21
      As it did for Honeywell, the Court finds evidence that is in close proximity to the desired forum to carry little weight.

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                               a. Amazon

         In the Amazon briefing concerning this factor, the parties mention the following people:

 William Halal, Christopher Tobin, Dr. Ronald (Tiejun) Wang, Professor Ximing Wang, and Dr.

 Anne Wong. The Court addresses each witness in turn.

                                           i.    William Halal and Christopher Tobin

         Amazon lists William Halal and Christopher Tobin as witnesses for whom compulsory

 process would be necessary to secure their presence at trial. Halal and Tobin are both non-party

 witnesses. William Halal is a named inventor and Christopher Tobin is a prosecutor of some of

 the patents contained in the ’492 Patent Family22 and U.S. Patent No. 8,135,398 (“the ’398

 Patent”), patents in the prior art, but not asserted in this case. Halal and Tobin both live and work

 in Washington D.C., and are within the subpoena range of the Alexandria Courthouse but not the

 Sherman Courthouse.

         Amazon avers that, even though these patents are not asserted in this case, Halal and Tobin

 will likely provide relevant testimony for claim construction and the priory date for the ’798 Patent

 Family, which is asserted in this case. Plaintiff counters that the patents Halal and Tobin are

 associated with are not asserted in this case and, thus, they are not likely to testify at trial. Plaintiff

 maintains that priority dates will not be determined by Halal or Tobin, but instead, determined by

 finding the earliest patent application that supports the claimed invention. Additionally, Plaintiff

 maintains that their testimony bears no weight on claim construction since claim construction is

 based on intrinsic evidence in the record and extrinsic evidence to establish knowledge of those of




 22
   The ’492 Patent Family consists of U.S. Patent Nos. 7,899,492 (“the ’492 Patent”), 8,050,711 (“the ’711 Patent”),
 8,903,451 (“the ’451 Patent”), 8,948,814 (“the ’814 Patent”), 9,118,794 (“the ’794 Patent”), 8,712,471 (“the ’471
 Patent”), 9,286,853 (“the ’853 Patent”), and 9,355,611 (“the ’611 Patent”).

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 ordinary skill in the art.23 Finally, Plaintiff maintains that Defendants do not specifically explain

 how Halal and Tobin are relevant to issues in the case.

            The Court agrees with Plaintiff. As to the claim that the Court would have to issue a

 subpoena to guarantee their appearance at the claim construction hearing, the Court is not

 convinced. The likelihood of having witness testimony of any kind during a claim construction

 hearing is low. The Court examines a patent’s intrinsic evidence to define the patented invention’s

 scope. Phillips v. AWH Corp., 415 F.3d 1303, 1313–14 (Fed. Cir. 2005); Bell Atl. Network Servs.,

 Inc. v. Covad Commc’ns Grp., Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). Intrinsic evidence

 includes the claims, the rest of the specification, and the prosecution history. Phillips, 415 F.3d at

 1312–13; Bell Atl. Network Servs., 262 F.3d at 1267. Although “less significant than the intrinsic

 record in determining the legally operative meaning of claim language,” the Court may rely on

 extrinsic evidence to “shed useful light on the relevant art.” Phillips, 415 F.3d at 1317 (quotation

 omitted). Expert testimony may aid the Court in determining the particular meaning of a term in

 the pertinent field, but “conclusory, unsupported assertions by experts as to the definition of a

 claim term are not useful.” Id. Generally, extrinsic evidence is “less reliable than the patent and

 its prosecution history in determining how to read claim terms.” Id.

            Halal and Tobin are not part of the intrinsic record. At best, Halal and Tobin might be able

 to offer extrinsic evidence, which the Court only looks to secondarily and may not even look to at

 all. Moreover, Amazon has not given any specific indication as to what extrinsic evidence either

 Halal or Tobin could offer to assist the Court in making its claim construction decision.

            As to Amazon’s claim that Halal and Tobin will be necessary to determine applicable

 priority dates, the Court is similarly unpersuaded. “Determination of a patent’s priority date is



 23
      Amazon and HTC do not address these arguments in their reply briefs.

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 purely a question of law if the facts underlying that determination are undisputed.” Medtronic

 CoreValve, LLC v. Edwards Lifesciences Corp., 741 F.3d 1359, 1363 (Fed. Cir. 2014) (citing E.I.

 du Pont de Nemours & Co. v. MacDermid Printing Sols., LLC, 525 F.3d 1353, 1359 (Fed. Cir.

 2008)). Amazon has made no effort to describe why the Court would need to have live testimony

 from Halal and Tobin to make any determinations on the patents’ priority dates, as it is a question

 of law for the Court to decide. Nor has Amazon offered any possible factual dispute regarding the

 priority dates that Halal and Tobin will need to help resolve through their testimony in a hearing

 or at trial.

          Moreover, aside from these two reasons, Amazon offers no argument why either Halal or

 Tobin would provide necessary testimony at trial.

          [W]hen parties simply name third-party witnesses subject to the subpoena power
          of a particular court without identifying the nature of the testimony or asserting, on
          a good faith basis, whether a party intends to depose or call a witness to trial,
          analysis of this factor is a futile and pointless exercise. At a minimum, in order to
          allow the Court to properly weigh this factor, litigants should not only specifically
          identify potential unwilling witnesses, but also should identify the relevancy and
          materiality of the information such witnesses would provide and therefore the
          foreseeability that a particular witness would be deposed, called to trial, or both.
          This identification enables the Court to give proper weight to each witness and
          analyze whether a particular witness is actually subject to a particular court’s
          subpoena power. Indeed, the bounds of such power is not the same for both
          commanding a witness to trial and deposition. See FED. R. CIV. P. 45(c)(1)(A)–(B).

 Diem LLC v. BigCommerce, Inc., No. 6:17-cv-186, 2017 WL 6729907, at *4 (E.D. Tex. Dec. 28,

 2017) (alteration in original) (quoting Adaptix, Inc. v. Cello P’ship, No. 6:15-cv-45 (E.D. Tex.

 Aug. 12, 2015) (Dkt. #32 at p. 7)). The Eastern District of Texas, being familiar with trying patent

 cases, has previously noted “‘inventors or prior art rarely, if ever, actually testify at trial.” Id.

 (quoting PersonalWeb Techs. LLC v. NEC Corp. of Am., Inc., No. 6:11-cv-655, 2013 WL

 9600333, at *8 n.13 (E.D. Tex. Mar. 21, 2013)). The Court finds no reason why a prosecuting

 attorney would have a higher likelihood of testifying at trial, and actually finds the likelihood to

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 be much lower. If the Court were to consider the location of Halal and Tobin in its analysis without

 any explanation as to their relevance, it would allow “litigants to cherry-pick third parties who

 happen to have an invention in [or prosecuted patents in] the relevant art and are located in the

 litigant’s preferred district in order to sway the convenience analysis.” Id. (quoting Cello P’ship,

 No. 6:15-cv-45 (Dkt. #32 at p. 8)). As such, the Court does not consider Halal and Tobin’s location

 in its analysis on this factor.24

                                             ii.    Dr. Ronald (Tiejun) Wang

          Amazon additionally argues that the Court will need to subpoena Dr. Ronald (Tiejun)

 Wang to testify at trial. Dr. Ronald (Tiejun) Wang is Dr. Anne Wong’s brother, a co-inventor of

 three of the four patents asserted against Amazon in this case. Plaintiff claims he is a likely witness

 at trial. Dr. Ronald (Tiejun) Wang is a consultant of Plaintiff, but not an employee within its

 control. Dr. Ronald (Tiejun) Wang resides in China, but is a permanent resident of the United

 States of America, and as such, must visit the United States at least every six months. While in

 the United States, Dr. Ronald (Tiejun) Wang resides with his sister, Dr. Anne Wong.

          Amazon and Plaintiff disagree regarding where the Court should consider Dr. Ronald

 (Tiejun) Wang and Dr. Anne Wong to reside. Amazon contends that the Court should disregard

 Dr. Anne Wong’s relocation to Texas and consider her to still live in Virginia. Plaintiff argues

 that the Court should not ignore Plaintiff’s or Dr. Anne Wong’s relocation to Texas. As the Court

 has already decided, it will not disregard the relocation.25 Accordingly, when Dr. Ronald (Tiejun)


 24
    If there is any testimony necessary for the claim construction or for determining a priority date, a deposition will be
 sufficient and the Court can issue a deposition subpoena as to Halal and Tobin. FED. R. CIV. P. 45 (a)(2); FED. R. CIV.
 P. 45 (c)(1)(A).
 25
    The argument that the Court should pretend that a person lives where they do not, for a convenience motion to
 transfer, is simply illogical. See Evolutionary Intelligence, LLC v. Apple, Inc., No. 6:12-cv-783, 2013 WL 8360309,
 at *7 (E.D. Tex. Aug. 27, 2013) (measuring a witness’ convenience based on where he resided at the time of the
 motion as opposed to where he resided when the suit was filed). The Court is focused on the convenience of the
 witnesses and parties and will not transfer a case based on a venue that used to be convenient. As a previous court in
 the Eastern District of Texas found, when discussing documentary evidence, the more reasoned approach would be to

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 Wang is in the United States of America and staying with Dr. Anne Wong, he will be staying at

 her residence in Plano, Texas. “A subpoena may command a person to attend a trial, hearing, or

 deposition only as follows: . . . within 100 miles of where the person resides, is employed, or

 regularly transacts business in person[.]” FED. R. CIV. P. 45(c)(1)(A). As such, as a permanent

 resident residing in Plano, Texas, at least every six months, Dr. Ronald (Tiejun) Wang will be

 within the subpoena range of the Court and not the Eastern District of Virginia.

                                          iii.   Professor Ximing Wang

         In response to Amazon’s Motion to Transfer, Plaintiff claims that Professor Ximing Wang,

 Dr. Anne Wong’s father and co-inventor of the ’443 Patent, is a likely witness within the subpoena

 range of the Court. Professor Ximing Wang also resides in China and stays with Dr. Anne Wong

 when he visits the United States of America, but there is no evidence or argument that he is a

 permanent resident or that he frequently visits the United States.

         Amazon first challenges, as it has before, Dr. Anne Wong’s residency in Plano, and thus

 Professor Ximing Wang’s visits to Plano, Texas. The Court has previously explained it will not

 discredit Dr. Anne Wong’s move, and likewise, will not do so here.

         Amazon also contends that Plaintiff did not prove that Professor Ximing Wang is within

 the subpoena power of the Court because Plaintiff did not provide evidence that Professor Ximing

 Wang is a resident, is employed, or regularly transacts business within 100 miles of the Sherman

 Courthouse. As previously stated, “[a] subpoena may command a person to attend a trial, hearing,

 or deposition only as follows: . . . within 100 miles of where the person resides, is employed, or

 regularly transacts business in person[.]” FED. R. CIV. P. 45(c)(1)(A). The Court agrees with

 Amazon that Plaintiff has not produced the required evidence to show Professor Ximing Wang


 simply not consider the location of the witnesses, as opposed to considering the witnesses to be located where they
 are not. See Seven Networks, 2018 WL 4026760, at *6.

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 resides, is employed, or regularly transacts business in Plano, Texas. Thus, the Court cannot say,

 at this time, whether Professor Ximing Wang is within the subpoena range of the Court and

 declines to include him when weighing this factor.

                                    iv.   Dr. Anne Wong

        In its reply, Amazon maintains that when suit was filed, Dr. Anne Wong was within the

 subpoena range of the Alexandria Courthouse. Dr. Anne Wong is a named inventor on all the

 patents-in-suit asserted against Amazon, is the CEO and sole employee of Plaintiff, and operates

 the business out of her residence. Accordingly, Dr. Anne Wong is a party witness. As previously

 mentioned, the focus of this factor is non-party witnesses because party witnesses do not require

 compulsory process to appear at trial. See Ingeniador, LLC, 2014 WL 105106, at *2. Thus, the

 Court does not consider her when weighing this factor.

                                    v.    Conclusion

        Under this factor for Amazon, the Court only weighs the location of Dr. Ronald (Tiejun)

 Wang and accordingly finds this factor weighs against transfer.

                           b. Honeywell

        In the Honeywell briefing concerning this factor, the parties mention the following people:

 Halal, Tobin, Dr. Ronald (Tiejun) Wang, Professor Ximing Wang, and Dr. Ning Wang. The

 arguments regarding Halal, Tobin, and Dr. Ronald (Tiejun) Wang are the same or substantially

 similar to those already addressed in the Amazon briefing and they equally apply to Honeywell’s

 briefing. Accordingly, for the same reasons noted above, the Court is not convinced that Halal

 and Tobin are relevant to the case or that Dr. Ronald (Tiejun) Wang should be considered to still

 reside in Virginia with his sister, Dr. Anne Wong. However, the Court needs to address Professor

 Ximing Wang, as to Honeywell, and Dr. Ning Wang.



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                                     i. Professor Ximing Wang and Dr. Ning Wang

         Honeywell argues that as co-inventors of asserted patents, Professor Ximing Wang and Dr.

 Ning Wang will provide relevant testimony at trial. Although they both live in China, they stay

 with Dr. Anne Wong in Virginia when they visit the United States. First, as has already been

 discussed, the Court will not disregard Dr. Anne Wong’s residence. Second, and more important

 here, Professor Ximing Wang and Dr. Ning Wang are not co-inventors of the ’983 Patent, which

 is the only patent asserted against Honeywell. Accordingly, Professor Ximing Wang and Dr. Ning

 Wang are not relevant to Honeywell’s case and the Court does not give weight to their location in

 its analysis.

                                    ii. Conclusion

         Therefore, considering only Dr. Ronald (Tiejun) Wang’s location under this factor as to

 Honeywell, the factor weighs against transfer.

                            c. HTC

         In the HTC briefing concerning this factor, the parties mention the following people: Halal,

 Tobin, and Dr. Ronald (Tiejun) Wang. HTC’s arguments surrounding these three witnesses are

 the same, or substantially similar, as the ones presented by Amazon and Honeywell. Accordingly,

 for the same reasons, the Court is not convinced that Halal and Tobin are relevant to the case or

 that Dr. Ronald (Tiejun) Wang should be considered to reside in Virginia.             Accordingly,

 considering only the location of Dr. Ronald (Tiejun) Wang, the Court finds that this factor weighs

 against transfer, as to HTC.




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                                d. Vector

          In the Vector briefing concerning this factor, the parties mention the following people:

 Halal, Tobin, Dr. Ronald (Tiejun) Wang, Dr. Ning Wang,26 and Professor Ximing Wang. Initially,

 the Court identifies that, similar to Honeywell, Professor Ximing Wang and Dr. Ning Wang are

 not co-inventors of the patent asserted against Vector. As to the remaining identified witnesses,

 the arguments presented are substantially similar to others previously addressed and the analysis

 equally applies to Vector’s motion. Thus, the Court does not consider the location of Halal, Tobin,

 Dr. Ning Wang, and Professor Ximing Wang but does consider Dr. Ronald (Tiejun) Wang to reside

 in Plano, Texas and within the subpoena range of the Eastern District of Texas. Therefore, this

 factor weighs against transfer.

                         3. The Cost of Attendance for Willing Witnesses

          The third private interest factor is the cost of attendance for willing witnesses. Volkswagen

 I, 371 F.3d at 203. In Volkswagen II, the Fifth Circuit noted that “[a]dditional distance means

 additional travel time; additional travel time increases the probability for meal and lodging

 expenses; and additional travel time with overnight stays increases the time in which these fact

 witnesses must be away from their regular employment.” Volkswagen II, 545 F.3d at 317. The

 Fifth Circuit established the “100-mile” rule to determine the convenience of the transferee district

 to the witnesses and parties. “When the distance between an existing venue for trial of a matter

 and a proposed venue under § 1404(a) is more than 100 miles, the factor of the convenience to

 witnesses increases in direct relationship to the additional distance to be traveled.” Volkswagen I,

 371 F.3d at 204–05. The “100-mile” rule applies because the Alexandria Courthouse is more than



 26
   Vector mentions Dr. Ning Wang in its statement of facts but not in its argument; however, in its response, Plaintiff
 responds to an argument regarding Dr. Ning Wang. Accordingly, the Court addresses Dr. Ning Wang out of an
 abundance of caution.

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 100 miles from the Sherman Courthouse. See id. When inconvenience would exist in either

 potential venue, merely shifting inconvenience from one party’s witnesses to the other is

 insufficient to affect a transfer of venue analysis. In re Google Inc., 412 F. App’x 295, 296 (Fed.

 Cir. 2011). Moreover, “‘[w]hile the Court must consider the convenience of both the party and

 non-party witnesses, it is the convenience of non-party witnesses that is the more important factor

 and is accorded greater weight in a transfer of venue analysis.” Seven Networks, LLC, 2018 WL

 4026760 at *12 (quoting Godo Kaisha IP Bridge 1 v. Broadcom Ltd., No. 2:16-cv-134-JRG-RSP,

 2017 WL 750290, at *5 (E.D. Tex. Feb. 27, 2017); accord Frito-Lay N. Am., Inc. v. Medallion

 Foods, Inc., 867 F. Supp. 2d 859, 870–71 (E.D. Tex. 2012)).

            Again, the Court addresses each Defendant separately for this analysis in order to weigh

 the factor accurately; however, as there is strong overlap between the arguments, the Court

 references arguments, analysis, and conclusions made in prior sections as it deems fit for

 efficiency.

                              a. Amazon

            In the Amazon briefing concerning this factor, the parties mention the following people:

 Dr. Anne Wong, Dr. Ronald (Tiejun) Wang, Professor Ximing Wang, and a variety of Amazon

 witnesses spread across the United States, Europe, and India. The Court addresses each witness

 in turn.

                                        i.   Dr. Anne Wong

            In its motion, Amazon contends that Dr. Anne Wong is a willing witness attending trial.

 Amazon and Plaintiff disagree on where the Court should consider Dr. Anne Wong to reside. As

 the Court has previously explained, it will not consider Dr. Anne Wong to reside in Virginia and




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 considers her relocation. Thus, the Sherman Courthouse is more convenient for Dr. Anne Wong

 as she lives in Plano, Texas.

                                     ii.   Dr. Ronald (Tiejun) Wang

        Amazon also lists Dr. Ronald (Tiejun) Wang as a willing witness under this section, as well

 as listing him under the compulsory process factor. The arguments are much the same in this

 factor. The Court simply applies its previous analysis in this section and finds the Sherman

 Courthouse to be more convenient for Dr. Ronald (Tiejun) Wang.

                                    iii.   Professor Ximing Wang

        While the Court found there was not enough evidence to determine whether Professor

 Ximing Wang would be subject to compulsory process by the Court, the parties also discuss

 Professor Ximing Wang as a willing witness for trial. As Professor Ximing Wang stays with his

 daughter when visiting the United States of America, the parties again dispute whether the Court

 should consider him to stay in Virginia or in Texas. As the Court has done previously, it considers

 Professor Ximing Wang to stay with his daughter, Dr. Anne Wong, at her new residence, in Plano,

 Texas. Based on this decision, the Sherman Courthouse is more convenient than the Alexandria

 Courthouse.

                                    iv.    Defense Witnesses

        In its motion, Amazon claims that its witnesses are scattered across the United States,

 Europe, and India, but that there are no relevant witnesses in the Eastern District of Texas.

        As to the witnesses located in Europe and India, because these witnesses would have to

 travel a significant distance regardless of whether they have to travel to the Alexandria Courthouse

 or Sherman Courthouse, the Court does not consider their location. In re Genentech, Inc., 566

 F.3d 1338, 1343–44 (Fed. Cir. 2009).



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        Amazon argues that its witnesses who reside in the United States of America are spread

 out between Cambridge, Massachusetts, San Francisco, California, and Seattle, Washington.

 Plaintiff argues that Amazon’s witnesses located in Seattle and San Francisco are more important

 and the Eastern District of Texas is more convenient for these witnesses. Amazon counters that

 its witnesses are widely scattered across the United States and that the West Coast witnesses are

 not more important than the East Coast witnesses.

        This demonstrates why there is a need to specifically identify witnesses, to the best of a

 party’s ability, in their motion to transfer. See, e.g., Seven Networks, 2018 WL 4026760, at *4

 (citing Utterback v. Trustmark Nat’l Bank, 716 F. App’x 241, 245 n.10 (5th Cir. 2017), cert. denied

 138 S. Ct. 1699 (2018)). In this case, witnesses located in San Francisco and Seattle would be

 closer to the Eastern District of Texas, making the Sherman Courthouse more convenient.

 Whereas witnesses located in Cambridge will be closer to the Eastern District of Virginia, making

 the Alexandria Courthouse more convenient.             However, without knowledge of how many

 witnesses are located in each location and their importance to the issues presented at trial, the Court

 is not “able to make an informed inquiry into the true convenience of” Amazon’s witnesses. Id.

 (citing Utterback, 716 F. App’x at 245 n.10).

                                      v.    Conclusion

        As such, after weighing the convenience of the witnesses presented, the Court finds that

 this factor weighs against transfer as to Amazon.

                            b. Honeywell

        In the Honeywell briefing concerning this factor, the parties mention the following people:

 Dr. Anne Wong, Tobin, Dr. Ronald (Tiejun) Wang, Professor Ximing Wang, and a variety of

 Honeywell witnesses spread across the East Coast. The Court has previously addressed all the



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 arguments Honeywell raises as to Dr. Anne Wong, Tobin, Dr. Ronald (Tiejun) Wang, and

 Professor Ximing Wang. This analysis equally applies to this factor for Honeywell and, therefore,

 the Court does not consider the location of Tobin or Professor Ximing Wang and will consider Dr.

 Anne Wong27 and Dr. Ronald (Tiejun) Wang28 to reside in Plano, Texas.

          As to the Honeywell witnesses, as has been previously discussed, the division responsible

 for the design, development, marketing, and distribution of the Accused Honeywell

 Instrumentalities spun-off into its own entity called Resideo. Resideo is a Delaware corporation,

 with its principal executive offices and major operations split between Golden Valley, Minnesota

 and Melville, New York. The spin-off includes former Honeywell International subsidiaries ADI

 and AlarmNet. ADI was a wholesale distributor of the Accused Honeywell Instrumentalities prior

 to the spin-off and now continues to perform that function as part of Resideo. ADI has four sites

 within the Eastern District of Virginia located in Alexandria, Norfolk, Richmond, and Sandston.

 AlarmNet is, and was, responsible for certain communication aspects related to the Accused

 Honeywell Instrumentalities. AlarmNet is incorporated in Delaware and has its principal place of

 business29 in Melville, New York. According to Honeywell, “[t]he most knowledgeable witnesses

 (now Resideo employees), responsible for the design, development, marketing, and distribution of

 the Accused [Honeywell] Instrumentalities . . . are located in or near Melville, New York and will

 remain there.” Resideo, 4:18-cv-475, (Dkt. #35 at p.4). Plaintiff counters that Honeywell has not

 specifically identified any witnesses from these locations who will testify or how they are relevant

 to the case.


 27
    Honeywell additionally argues that it would not be inconvenient for Dr. Anne Wong to travel to the Eastern District
 of Virginia because that is where she lived from at least 1999–2013. The Court is not convinced. Under this factor,
 the Court does not hold that a witness’s prior residence lightens the burden in traveling to a certain venue.
 28
    Honeywell additionally argues that Dr. Ronald (Tiejun) Wang is listed as a second owner on Dr. Anne Wong’s
 property in Virginia. But as identified before, Dr. Anne Wong has rented out her apartment and listed her house for
 sale. Thus, this has no bearing on the analysis.
 29
    The Court notes that Honeywell uses the phrase main place of business, as opposed to principal place of business.

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        As an initial matter, the Court agrees that Honeywell has not offered any explanation,

 justification, or reasoning why any witness from ADI, a wholesale distributor, will be relevant to

 this case. Thus, the Court does not consider the fact that ADI has locations within the Eastern of

 District of Virginia to be persuasive for this factor.

        Moreover, while specifically identifying witnesses to testify is required for the Court to

 perform a proper convenience analysis, the Court finds Honeywell has, at the very least,

 demonstrated a strong likelihood that there will be relevant witnesses located in Melville, New

 York. See Seven Networks, 2018 WL 4026760, at *5; Evolutionary Intelligence, 2013 WL

 8360309, at *7.     The employees responsible for the design, development, marketing, and

 distribution of the Accused Honeywell Instrumentalities likely have relevant testimony to offer in

 this case. No party disputes that the Eastern District of Virginia is more convenient for witnesses

 located in New York and the Court agrees.

        As such, the Court must determine how to weigh this factor considering the location of Dr.

 Anne Wong, Dr. Ronald (Tiejun) Wang, and Honeywell’s likely witnesses. Plaintiff argues that

 because Honeywell only identifies witnesses in New York, which is simply closer to the Eastern

 District of Virginia and Plaintiff actually identifies witnesses in the Eastern District of Texas, the

 convenience of its witnesses outweighs Honeywell’s. The Court disagrees. The focus of this

 factor is not whether there are witnesses located within the specific district, but instead assesses

 the convenience of the witnesses to testify at trial. As previously identified, “‘[w]hile the Court

 must consider the convenience of both the party and non-party witnesses, it is the convenience of

 non-party witnesses that is the more important factor and is accorded greater weight in a transfer

 of venue analysis.” Seven Networks, LLC, 2018 WL 4026760 at *12 (quoting Godo Kaisha IP

 Bridge 1, 2017 WL 750290, at *5; accord Frito-Lay N. Am., 867 F. Supp. 2d at 870–71. The only



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 non-party witness here is Dr. Ronald (Tiejun) Wang. However, considering the facts of the case,

 that Dr. Ronald (Tiejun) Wang stays with his sister, Dr. Anne Wong who is a party witness, the

 weight to be given the non-party witness is reduced. The Court, however, is mindful that “[a] case

 should not be transferred if the only practical effect is to shift inconvenience from the moving

 party to the nonmoving party.” Goodman Co., L.P, 396 F. Supp. 2d at 776 (quotations omitted).

 With all that in mind, the Court finds this factor to be neutral for Honeywell.

                                 c. HTC

          In the HTC briefing concerning this factor, the parties discuss Dr. Anne Wong and Dr.

 Ronald (Tiejun) Wang. The parties disagree about where the Court should consider these

 witnesses to be located.           HTC also acknowledges that the cost of its witnesses, as it is

 headquartered in Taipei, Taiwan is likely neutral. As the Court has previously explained, it will

 not consider Dr. Anne Wong and Dr. Ronald (Tiejun) Wang to be located in a state where they do

 not reside in analyzing the convenience of witnesses. Accordingly, this factor weighs against

 transfer, as it relates to HTC.

                                 d. Vector

          In the Vector briefing concerning this factor, the parties mention the following people:

 Halal, Tobin, Dr. Ronald (Tiejun) Wang, Dr. Anne Wong, Professor Ximing Wang, and Vector

 witnesses who are located in Virginia and Pennsylvania.30 The Court previously addressed

 Professor Ximing Wang, Halal, and Tobin’s relevance to Vector’s case and has previously




 30
   In its sur-reply, Plaintiff also argues that Vector’s website suggested that its supplier of relevant hardware for its
 security products, and specifically the Accused Vector Instrumentalities, is a company formerly known as 2GIG
 Technologies, which is now part of Network Security & Control LLC, located in California. The Court finds that
 Plaintiff raised the witnesses related to this supplier late, not giving Vector a chance to respond to the new witnesses.
 Therefore, the Court does not consider this in its analysis.

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 addressed the arguments presented about Dr. Anne Wong and Dr. Ronald (Tiejun) Wang’s location

 and that analysis equally applies to this factor concerning Vector.

         As to Vector’s witnesses, Vector maintains that its likely witnesses who have relevant

 information on marketing, finances, and the Accused Vector Instrumentalities and related

 hardware are located in Fairfax, Virginia and Warrendale, Pennsylvania. Vector contends that it

 is unlikely that any witnesses will come from its small branch offices located in the Eastern District

 of Texas as these branches serve less than one percent of Vector’s residential customers and only

 employ ten people. Plaintiff counters that Vector did not identify specific witnesses that would be

 relevant from Virginia or Pennsylvania and criticizes Vector for only supplying evidence in

 relation to its Authorized Dealer Division, which only makes up thirty-three percent of the

 business. However, as the Court similarly concluded with Honeywell, although Vector did not

 provide specific names of witnesses, it has provided evidence that the employees in this division

 of its company will likely provide testimony that will be relevant at trial in this case. Plaintiff also

 challenges the fact that because there are no specific witnesses identified, it suspects that most

 relevant witnesses will actually be in Pennsylvania as opposed to Virginia. The Court finds that

 regardless of whether the witnesses are in Pennsylvania or Virginia, the Eastern District of Virginia

 presents the more convenient forum for Vector’s witnesses.

         Thus, the Court must decide the weight of this factor, considering Dr. Anne Wong, Dr.

 Ronald (Tiejun) Wang, and Vector’s likely witnesses. For the same reasons considered by the

 Court in determining how to weigh this factor for Honeywell, the Court finds this factor is

 neutral.31




 31
   Although Vector likely has some witnesses located in the Eastern District of Virginia, whereas Honeywell just had
 witnesses close to the Eastern District of Virginia, the Court does not find this fact to change the analysis.

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                          4. Other Practical Problems

          Although not an enumerated factor, judicial economy can be considered when determining

 whether it is appropriate to transfer a case in the interest of justice. In re Volkswagen of Am., Inc.

 (“Volkswagen III”), 566 F.3d 1349, 1351 (Fed. Cir. 2009). The Court must use the facts of every

 case individually to determine the importance of this factor. See Regents of Univ. of Cal. v. Eli

 Lilly & Co., 119 F.3d 1559, 1565 (Fed. Cir. 1997)) (holding “[c]onsideration of the interest of

 justice, which includes judicial economy, may be determinative to a particular transfer motion,

 even if the convenience of the parties and witnesses might call for a different result.”); but see In

 re Zimmer, 609 F.3d 1378 (explaining that the convenience considerations may outweigh judicial

 economy when the overlap between cases is slight). Both Plaintiff and Defendants contend that

 this factor weighs in their favor. The Court addresses both sides’ arguments in turn.

                                      a. Defendants’ Position

          Defendants32 first argue that this factor supports transferring the case to the Eastern District

 of Virginia, specifically to Judge Liam O’Grady, because Judge O’Grady is familiar with the same

 or similar technology. Amazon and Vector additionally argue that Plaintiff’s behavior in this case

 amounts to gamesmanship and runs afoul of systemic integrity and fairness. The Court analyzes

 each argument separately.

                                             i.     Eastern District of Virginia’s Familiarity

          According to Defendants, the patents and products that are asserted in this case are the

 same or similar to the patents that were asserted and products accused in prior cases filed in the



 32
    Honeywell discusses this argument under this private interest factor, creates an additional public interest factor of
 judicial economy, and finally the public interest factor of “the familiarity of the forum with the law that will govern
 the case.” The Court does not address the public interest factor of judicial economy, as that is what it is addressing as
 a private interest factor. Further, as all other parties agree that the familiarity of the forum with the law that will
 govern the case is neutral, the Court finds that its analysis in this factor equally applies to Honeywell’s argument for
 the familiarity factor and, as such, does not specifically address this argument under that factor.

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 Eastern District of Virginia. Plaintiff maintains that the patents asserted here are different from

 the first suits it filed in the Eastern District of Virginia, that the second suits are irrelevant, and that

 any related claim or product examined from the first suits were not examined enough to create any

 specialized knowledge. To address the arguments surrounding judicial efficiency, the Court must

 discuss the prior cases filed by Plaintiff in the Eastern District of Virginia.

                                                    aa.          Facts

          In February 2016, Plaintiff, who at the time was VIS, filed its first complaint against HTC

 and its subsidiary HTC America, Inc. (“HTCA”). VIS asserted that HTC and HTCA infringed the

 ’492 Patent Family with its HTC smartphones, mobile phones, and tablet products (“HTC I”). The

 case was initially assigned to the Honorable Henry C. Morgan in the Alexandria Division.

          In July 2016, VIS filed a patent infringement suit against Amazon in the Eastern District

 of Virginia, and the case was assigned to Judge O’Grady. Plaintiff asserted that Amazon infringed

 the ’492 Patent Family, the ’398 Patent, U.S. Patent No. 9,369,844 (“the ’844 Patent”), and U.S.

 Reissue Patent No. RE46,140 (“the ’140 Patent”)33 (“Amazon I”). VIS alleged that Amazon

 infringed the ’492 Patent Family with its Fire TV and Fire Tablet products, that Amazon infringed

 the ’398 Patent with its Fire TV products, that Amazon infringed the ’844 patent with the Dash

 Button, and, finally, that Amazon infringed the ’140 Patent with the Amazon Pay Service. In

 October 2016, based on the similarities and in the interest of judicial economy, Judge Morgan

 transferred HTC I to Judge O’Grady to be handled simultaneously with Amazon I.34

          Both HTC and Amazon moved to dismiss the ’492 Patent Family based on 35 U.S.C. § 101

 grounds. Judge O’Grady granted the motions finding the ’492 Patent Family was not directed to



 33
    Plaintiff added the ’140 Patent after Judge O’Grady granted the § 101 motion to dismiss as to the ’492 Patent Family,
 as will be further detailed.
 34
    HTC I and Amazon I remained separate cases.

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 patent-eligible subject matter (“the § 101 Order”). Va. Innovation Scis. v. Amazon.com, Inc.

 (“Amazon I”), 227 F. Supp. 3d 582 (E.D. Va. 2017). Judge O’Grady issued his ruling in Amazon

 I and entered an order that adopted the same ruling in HTC I.35

          As the ’492 Patent Family was the only patent family at issue in HTC I, this decision

 concluded HTC I. However, Amazon I proceeded against the ’398 Patent, the ’844 Patent, and the

 ’140 Patent. Subsequently, Judge O’Grady issued a claim construction order, construing eleven

 claim terms contained in the three remaining patents (“the Claim Construction Order”). Amazon

 I, No. 1:16-cv-861, 2017 WL 3599642 (E.D. Va. Aug. 18, 2017). In so construing, Judge O’Grady

 rejected VIS’s proposed construction for terms that were directly tied to VIS’s contention for

 infringement on the ’398 Patent; identified that VIS’s proposed constructions as to the ’844 Patent

 ran “contrary to the overwhelming thrust of the patent”; and determined that the ’140 Patent lacked

 detail concerning a term that was directly related to whether the patent was eligible under § 101.

 See generally id. Following the Claim Construction Order, VIS stipulated to noninfringement of

 the ’844 Patent but maintained its right to appeal the Claim Construction Order. Subsequently,

 Judge O’Grady resolved competing motions for summary judgment, determining that Amazon

 was not infringing the ’398 Patent and the ’140 Patent was invalid under § 101 based on the Claim

 Construction Order.36




 35
    VIS appealed these rulings. The Federal Circuit combined the appeal from Amazon I and HTC I. Innovations Scis.,
 Inc. v. HTC Corp., 718 F. App’x 988 (Fed. Cir. 2018). The Federal Circuit affirmed Judge O’Grady’s ruling on the
 motions to dismiss pursuant to § 101 as to the ’492 Patent Family. Id.
 36
    Plaintiff appealed these rulings. On July 2, 2019, the Federal Circuit issued its ruling on these appeals. Innovation
 Scis, LLC v. Amazon.com, Inc., 2018-1495, 2019 WL 2762976 (Fed. Cir. July 2, 2019). The Federal Circuit affirmed
 Judge O’Grady’s grant of summary judgment as to the ’140 Patent and the ’398 Patent. Id. at *1–4, *9–10. As to the
 ’844 Patent, the Federal Circuit affirmed three of the four challenged terms Judge O’Grady construed in the Claim
 Construction Order. Id. at *4–8. Based on this decision, the Federal Circuit affirmed the noninfringement ruling on
 one independent claim, but as to independent claim 35 and 52 of the ’844 Patent, the Federal Circuit maintained that
 it could not determine whether Plaintiff’s stipulation was based on one term or all four, and thus decided to vacate and
 remand the case for further proceedings. Id. at *8.

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            In August 2017, in the midst of Amazon I, VIS filed a second patent infringement suit

 against both Amazon and HTC, separately, in the Eastern District of Virginia. The second Amazon

 case was assigned to the Honorable Mark S. Davis in the Norfolk Division (“Amazon II”). In

 Amazon II, VIS asserted that Amazon infringed the ’398 Patent, the ’844 Patent, the ’918 Patent,

 and the ’443 Patent. At this time, VIS alleged that Amazon infringed the ’398 Patent and ’844

 Patent with its Fire TV, Fire Phones, and Dash Replenishment Service. Moreover, VIS maintained

 that Amazon infringed the ’918 Patent and the ’443 Patent with the Fire TV, Fire Tablets, Fire

 Phones, Amazon Echo, Dash Buttons, and Dash Replenishment Service. The second HTC case

 was assigned to the Honorable John A. Gibney, Jr. (“HTC II”) in the Richmond Division. In HTC

 II, VIS alleged that HTC and HTCA infringed the ’918 and ’398 Patents with HTC’s smartphones,

 mobile phones, HTC Media Link HD, and tablet products including Google Nexus 9, HTC MHL-

 HDMI adapter, and HTC EVO 3D Dock. After a hearing on the motions for summary judgment

 in Amazon I, VIS voluntarily dismissed Amazon II and HTC II without prejudice.37

            In the present cases, Plaintiff asserts that Amazon infringes the ’443 Patent and the ’798

 Patent Family. Amazon III, 4:18-cv-474, (Dkt. #1). Plaintiff alleges that Amazon infringes the

 ’798 Patent Family with the Accused Echo Instrumentalities, the Accused Dash Instrumentalities,

 and the Accused Fire TV Instrumentalities and infringes the ’443 Patent with Accused Dash

 Instrumentalities. Amazon III, 4:18-cv-474, (Dkt. #1). Plaintiff also asserts that HTC infringes

 the ’798 Patent Family. HTC III, 4:18-cv-476, (Dkt. #1). Plaintiff alleges that HTC infringes the

 ’798 Patent Family with the Accused HTC Instrumentalities. HTC III, 4:18-cv-476, (Dkt. #1).

 Finally, Plaintiff asserts that Vector and Honeywell infringes the ’983 Patent. Resideo, 4:18-cv-

 475, (Dkt. #1); Vector, 4:18-cv-477, (Dkt. #1). Plaintiff alleges that Honeywell infringes the patent



 37
      The Court does not comment on the relation between the two events; the Court merely presents a timeline.

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 with the Accused Honeywell Instrumentalities. Resideo, 4:18-cv-475, (Dkt. #1). Plaintiff alleges

 Vector infringes the patent with the Accused Vector Instrumentalities. Vector, 4:18-cv-477, (Dkt.

 #1 at p. 4).

                                                   ba.           Analysis

          Defendants first contend that all of the patents-in-suit have been asserted in or are related

 to patents asserted in the previous Eastern District of Virginia cases.38 Plaintiff argues that the

 Court should not consider any overlap39 between this case and Amazon II and HTC II because

 these cases were not assigned to Judge O’Grady, and the cases were voluntarily dismissed without

 prejudice in an early stage of litigation. The Court agrees and, as such, only looks to arguments

 surrounding overlap between this case and Amazon I and HTC I.40

          Defendants next contend that even without looking to Amazon II or HTC II, all of the

 patents asserted in this case are related to patents asserted in Amazon I and HTC I and the products

 accused are the same or similar to those accused in Amazon I and HTC I, specifically referencing

 the ’492 Patent Family, the ’398 Patent, and the ’844 Patent. Plaintiff maintains that there is not

 a sufficient overlap to warrant a transfer in this case.




 38
    The Court combines the arguments of Defendants for the sake of efficiency. However, the Court will specifically
 identify arguments made by specific Defendants, as necessary. Moreover, the Court notes that Amazon and Vector
 focus on the Amazon line of cases only; HTC addresses both the HTC and Amazon line of cases; and, Honeywell
 refers to the Amazon line of cases, the HTC line of cases, but additionally adds a case against LG Electronics, Inc.
 and a line of cases against Samsung Electronics Company.
 39
    The Court acknowledges that the ’443 Patent and the ’918 Patent were asserted in Amazon II and the ’918 Patent
 was asserted in HTC II, but as the Court holds, overlap between Amazon II and HTC II are not relevant to the present
 analysis.
 40
    Additionally, Honeywell maintained that the Court should consider the Samsung line of cases and the LG case.
 However, Samsung similarly was not in front of Judge O’Grady. As such, the argument Honeywell makes concerning
 determining applicable priority dates and evaluating validity under 35 U.S.C. §§ 102 and 103 for patents related to the
 ’983 Patent, citing only the case against Samsung, is unpersuasive. The LG case was filed in front of Judge O’Grady,
 Virginia Innovations Sciences, Inc. v. LG Electronics, Inc., et al., 1:16-cv-128 (E.D. Va. Feb. 16, 2016); however,
 there are no specific arguments presented as to the similarities between this case and the present case, aside from the
 fact that the ’492 and ’711 Patents were asserted in that case.

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        “This factor concerns judicial economy, including duplicative suits involving the same or

 similar issues that may create practical difficulties.” Lifestyle Sols., Inc. v. Abbyson Living, LLC,

 No. 2:16-cv-1290, 2017 WL 5257006, at *4 (E.D. Tex. Nov. 10, 2017) (citing Volkswagen III, 566

 F.3d at 1351 (Fed. Cir. 2009). “These problems especially deserve consideration when the same

 patent is simultaneously being litigated in another district.” Zoltar Satellite Sys., Inc. v. LG Elecs.

 Mobile Commc’ns Co., 402 F. Supp. 2d 731, 737 (E.D. Tex. 2005) (citations omitted); accord

 Cont’l Grain Co. v. The Barge FBL–585, 364 U.S. 19, 26 (1960) (explaining “[t]o permit a

 situation in which two cases involving precisely the same issues are simultaneously pending in

 different District Courts leads to the wastefulness of time, energy, and money that § 1404(a) was

 designed to prevent.”); Volkswagen III, 566 F.3d at 1351; TiVo Inc. v. Verizon Commc’ns, Inc.,

 No. 2:09-cv-257, 2010 WL 11468564, at *9 (E.D. Tex. Sept. 17, 2010).

        The benefits courts are attempting to actualize in keeping related cases in the same district

 include the ability to save time, energy, and money. See Cont’l Grain Co., 364 U.S. at 26. For

 example, in patent cases: the parties could coordinate discovery; courts could consolidate cases for

 pretrial purposes; and the parties could save expense by participating in one claim construction

 hearing and briefing. The Court finds these benefits will not be realized in this case.

        As an initial matter, there is no dispute that HTC I is not being actively litigated. The

 Eastern District of Virginia issued its ruling dismissing this case in 2017, which was appealed and

 affirmed by the Federal Circuit in 2018. As such, HTC I is complete.

        As to Amazon I, the Court notes that on July 2, 2019, the Federal Circuit remanded an

 appeal in Amazon I. As previously explained, the case was remanded as to the ’844 Patent based

 on the Federal Circuit finding error in the construction of one disputed term. However, Plaintiff

 maintains that it will petition the Federal Circuit for rehearing as to its determination on the term



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 “updated condition of merchandise”, among other things. Amazon III, 4:18-cv-474, (Dkt. #160).

 According to Plaintiff, if the Federal Circuit does not grant rehearing and then reverse its decision

 on this term, “Innovation has concluded that it cannot maintain its allegations of infringement

 under the ’844 Patent, the only infringement allegation being remanded to the district court[.]”

 Amazon III, 4:18-cv-474, (Dkt. #160). As such, there are not co-pending suits at the district court

 level involving the same or similar patents or issues.

        Even if the Federal Circuit grants rehearing and reverses the decision of the Federal Circuit,

 which could take a significant amount of time, the typical judicial economy courts are trying to

 accomplish would not be realized from transferring the case. Transferring the present cases to the

 Eastern District of Virginia will result in either one of three scenarios. First, the Eastern District

 of Virginia may attempt to actualize the benefits of trying cases together and stay the pending cases

 pending the rehearing in Amazon I. This would not be an efficient use of the parties’ time in this

 case and could result in these cases languishing. Second, the Eastern District of Virginia may

 choose to proceed with the present cases, while Amazon I is on rehearing, and litigating the cases

 at different times, thereby not creating the judicial efficiency this factor is aimed to accomplish.

 Third, the Federal Circuit either does not grant rehearing or grants rehearing and does not reverse

 its prior determination. In this instance, Plaintiff will not pursue its allegations as to the ’844

 Patent and there will be no co-pending infringement suits. Therefore, the Court finds that there is

 not much judicial economy to gain from transferring the case.

        Moreover, the difficulties that courts are trying to avoid when analyzing this factor include

 inconsistent rulings and claim constructions. Invitrogen Corp. v. Gen. Elec. Co., 6:08-cv-112,

 2009 WL 331891, at *4 (E.D. Tex. Feb. 9, 2009). Judge O’Grady has already issued his orders in

 the previous cases making various decisions on the patents asserted in Amazon I and HTC I. The



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 Court is aware of the previous cases and their corresponding orders. “If some overlap does arise,

 the Court can take appropriate action to minimize the risk of judicial inefficiency and inconsistent

 claim construction by consulting [Judge O’Grady’s] Orders in the [previous cases].” j2 Glob.

 Commc’ns, Inc. v. Protus IP Sols., Inc., No. 6:08-cv-211, 2008 WL 5378010, at *6 (E.D. Tex.

 Dec. 23, 2008); accord ConnecTel, LLC v. Cisco Sys., Inc., No. 2:04-cv-396, 2005 WL 366966, at

 *4 (E.D. Tex. Feb. 16, 2005) (maintaining that “the gains in judicial economy are at best minimal,

 and possibly non-existent since such gains could be realized by simply referring to [a previous

 judge’s] claim construction, if necessary.”).      Even further, Plaintiff agrees that the Claim

 Construction Order, as affirmed, is “instructive if not controlling here.” Amazon III, 4:18-cv-474,

 (Dkt. #159 at p. 4). Thus, the Court finds that, regardless of the knowledge the Eastern District of

 Virginia and Judge O’Grady have of the case, continuing with the case in the Eastern District of

 Texas would not create difficulties or create the risk of inconsistent claim constructions, which

 appears to be a primary concern of this factor. See Lifestyle Sols., Inc., 2017 WL 5257006, at *4;

 Invitrogen Corp., 2009 WL 331891, at *4.

        Nevertheless, courts have held that if there is a significant overlap between the patents

 asserted and products accused in one suit as one previously litigated in another court, judicial

 economy may support a transfer. The Court first points out that there are no patents asserted in

 this case that were asserted in Amazon I or HTC I, which distinguishes this case from several of

 the cases Defendants cited to support their argument. See In re Eli Lilly & Co., 541 F. App’x 993,

 994 (Fed. Cir. 2013) (giving deference to a district court’s decision to transfer a case to a district

 court that had “prior familiarity with the patents and [the] opportunity to resolve two cases

 involving the same product and patents.”); In re Vistaprint, Ltd., 628 F.3d 1342, 1346 (Fed. Cir.

 2010) (finding no error in refusing to transfer a patent case when the district court “became very



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 familiar with the only asserted patent and the related technology during a prior litigation.”); MGM

 Well Servs., Inc. v. Prod. Control Servs., Inc., No. 6:10-cv-88, 2010 WL 11553307, at *6 (E.D.

 Tex. Nov. 22, 2010) (transferring a case to a district where a judge had previously held a Markman

 hearing, issued a claim construction order, presided over a bench trial, and issued findings of facts

 and conclusions of law over one of the patents in suit with the remaining two patents being

 overwhelmingly similar); Invitrogen Corp., 2009 WL 331891, at *5 (transferring a case when

 another district court was “‘intimately familiar’ with the technology in [the] case, having construed

 three of the six patents at issue and presided over a jury trial,” with the remaining three patents

 being “continuations of the patents which have been construed.”); Zoltar Satellite, 402 F. Supp.

 2d at 735–37 (transferring a case where three out of four asserted patents overlapped with a

 previously filed suit, and the plaintiff was unable to identify any differences in the technology).

        However, there are cases in which the patents in the two cases are simply “closely related,”

 and the district court decided to transfer the case based on judicial economy. See, e.g., Kinetic

 Concepts, Inc. v. Medela AG, No. 2:07-cv-187, 2008 WL 112120, at *2 (E.D. Tex. Jan. 9, 2008)

 (transferring case when previous court held a twenty-two-day trial on patents that were related to

 the patents-in-suit). In determining whether to transfer a case based on closely related patents, “a

 court must consider the extent to which transfer will increase judicial economy and lower the risk

 of inconsistent adjudication.” j2 Glob. Commc’ns, 2008 WL 5378010, at *5. “At all times, the

 burden falls on the party seeking transfer to show that transfer is ‘clearly more convenient.’” j2

 Glob. Commc’ns, 2008 WL 5378010, at *5 (quoting In re Volkswagen II, 545 F.3d at 315).

 “[T]ransfer is most appropriate when one court has extensive familiarity with the technology or

 the legal issues involved, a claim construction opinion has been prepared, and the cases involve

 the same or similar defendants with the same or similar products.” Invitrogen Corp., 2009 WL



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 331891, at *4.41 “On the other hand, if the overlap between cases is small, then the risk of

 duplicative judicial work and inconsistent claim construction is also small.” Id. (quotations

 omitted). The Court addresses why it finds the overlap in this case is slight by first addressing the

 similarities in defendants, then turning to the products accused, and finally focusing on Judge

 O’Grady’s opportunity to become familiar with the specific patents, technology, and issues

 presented and the Claim Construction Order.

         As to the defendants, there are currently four cases before the Court, which have been

 consolidated for pretrial purposes. In total between the four cases, there are six defendants,

 including the parties Plaintiff added in Amazon III in its Amended Complaint. Two defendants,

 HTC and Amazon, were present in the previous Eastern District of Virginia cases.                               Two

 defendants, Vector and Honeywell, are distinct from the former cases.

         As to the products accused in Amazon I and HTC I and those accused in the present case,

 the Court acknowledges that there are certain similarities and overlap; however, there are also

 distinctions. Starting with Amazon I, the Accused Dash Instrumentalities were asserted in Amazon

 I. Amazon III, 4:18-cv-474, (Dkt. #28, Exhibit 4). Accused Fire TV Instrumentalities were also

 accused in Amazon I; however, the Court notes that the versions of the devices are different and

 now have Alexa capabilities, which differentiates them from those in Amazon I. Amazon III, 4:18-

 cv-474, (Dkt. #28, Exhibit 4). Finally, as agreed by Amazon, the Accused Echo Instrumentalities

 were not asserted in the first case. Moving to HTC I, while there are smart phones accused in both

 cases, the products are different versions, and in fact the HTC U11 and U12, which are accused in

 this case, were not produced at the time of HTC I. The new products include Alexa technology,

 which was not available on HTC smart phones at the time. Finally, regarding the products accused


 41
   The Court notes that this rule comes from a case that had overlapping patents, as opposed to merely closely related
 patents.

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 against Vector and Honeywell, the Accused Vector Instrumentalities and Accused Honeywell

 Instrumentalities were not asserted in Amazon I or HTC I. Judge O’Grady was never presented

 with a home security system of any kind in any of the previous cases at issue in the Eastern District

 of Virginia.

          As to the familiarity with the patents, technology, and issues presented in this case, the

 Court finds that Judge O’Grady does not have extensive familiarity with the technology or the

 legal issues involved. The Court details the reasons why starting with timing, then turning to the

 nature of the proceedings—manners of disposition—in the Eastern District of Virginia cases, and

 then, finally, looking at the actual overlap in the claims asserted in Amazon I, HTC I, and the

 present cases.

          As an initial matter, Amazon I was filed in July 2016, HTC I was transferred to Judge

 O’Grady in October 2016, and Judge O’Grady issued his rulings in these cases in 2017. The Court

 finds a significant amount of time has passed, which reduces the value of judicial economy in the

 case, as familiarity with the case, patents, and technology diminish over time. Am. Vehicular Scis.

 LLC v. Toyota Motor Corp., No. 6:12-cv-404, 2013 WL 8180623, at *6–7 (E.D. Tex. June 12,

 2013), mandamus granted on other grounds, In re Toyota Motor Corp., 747 F.3d 1338 (Fed. Cir.

 2014).

          Aside from the passage of time, the Court agrees with Plaintiff that the ways in which

 Amazon I and HTC I were disposed of reduces Judge O’Grady’s familiarity with the technology

 and legal issues involved in this case. The Court addresses the disposition of each patent or patent

 family in turn.

          As to the ’492 Patent Family, Judge O’Grady granted a motion to dismiss pursuant to

 § 101. Although HTC argues that the patents asserted in this case are directed to the same abstract



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 idea, Judge O’Grady decided the § 101 Order under step two of the Alice/Mayo test, which focuses

 on the specific claims of the patents asserted as opposed to looking at the general focus of the

 patent.42 Judge O’Grady granted the motion finding the claims asserted in the ’492 Patent Family

 presented functional terms without presenting specific instructions, rendering the claims abstract;

 however, Judge O’Grady noted that modifications to the patent “could conceivably render the

 claims patent-eligible.” Amazon I, 227 F. Supp. 3d at 600, 603. As argued by Plaintiff, the § 101

 Order was decided entirely based on “what [was] claimed” and “how the invention [was] claimed.”

 Amazon III, 4:18-cv-474, (Dkt. #24 at p. 16) (emphasis in original).43 Accordingly, new claims

 and modifications to the related claims asserted will present entirely new issues for the Court to

 decide, should there be a § 101 challenge. Not only will there be new issues, but due to an early

 dismissal based on § 101, Judge O’Grady was never exposed to claim construction of the ’492

 Patent Family or determinations of whether there was any infringement based on the ’492 Patent

 Family in Amazon I or HTC I. Thus, Judge O’Grady would not have had the opportunity to become

 familiar with claim construction or infringement issues regarding the ’492 Patent Family, or related

 claims. See In re Echostar Corp., 388 F. App’x 994, 995 (Fed. Cir. 2010).

          As to the ’398 and ’844 Patents, Judge O’Grady issued the Claim Construction Order,

 construing claims against VIS. Based on this negative claim construction, VIS stipulated to

 noninfringement of the ’844 Patent and Judge O’Grady granted a motion for summary judgment

 finding noninfringement of the ’398 Patent. Accordingly, Judge O’Grady’s familiarity with these

 patents lie in his claim construction order and the effect these constructions had on VIS’s patent



 42
    Judge O’Grady did analyze the ’492 Patent Family under the first step of the Alice/Mayo framework and determined
 that the ’492 Patent Family was directed toward a general focus and was an abstract idea. Amazon I, 227 F. Supp. 3d
 at 596–97. However, this was not where the final decision of the case rested. Id. at 597–605. Moreover, as previously
 detailed, the Court is aware of this ruling and, if a § 101 challenge presents itself in this case, the Court can reference
 Judge O’Grady’s reasoning, if necessary, to reduce the risk of inconsistent rulings.
 43
    Plaintiff makes this argument in response to multiple motions; however, the Court only cites to one.

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 claims in Amazon I. Judge O’Grady construed nine terms from the ’398 and ’844 Patents, and out

 of the nine terms, two terms overlap in the claims asserted in the present case: “item status signal”44

 and “unique identifier.”45 Accordingly, the Court finds that Judge O’Grady’s familiarity with the

 issues presented in Amazon I do not have a strong overlap with the issues that will be presented in

 the present case.

          Moreover, this demonstrates why, even though Judge O’Grady issued the Claim

 Construction Order in Amazon I, that is not determinative based on the facts of this case.

          [T]his case involves more than just construing claims that were previously
          construed . . . . Four patents, [which are different from those asserted in HTC I and
          Amazon I], with [several different] claims to construe, are at issue here. Given the
          number of claims at issue, Judge [O’Grady’s] previous claim construction does not
          determine the fate of this case.

 ConnecTel, 2005 WL 366966, at *4. Additionally, the Court is well aware of the previous orders

 and can reduce any risk of inconsistent rulings by referring to the Claim Construction Order. j2

 Glob. Commc’ns, 2008 WL 5378010, at *6; ConnecTel,, 2005 WL 366966, at *4.

          Regarding the actual overlap of the issues presented in the cases, the Court turns to each

 Defendant’s arguments separately.

          Amazon focuses its argument on the similarities between the language in the claims

 asserted to compare the ’798 Patent Family to the previously litigated ’492 Patent Family and the

 ’443 Patent to the previously litigated ’844 Patent. Out of roughly thirty claims46 asserted from

 the ’492 Patent Family in Amazon I, Amazon only compares one claim asserted in Amazon I with



 44
    Judge O’Grady’s construction of “item status signal” was affirmed on appeal.
 45
    Judge O’Grady determined that “unique identifier” needed no construction and construed “unique identifier to mean
 “unique identifier.”
 46
    VIS alleged that Amazon directly and/or indirectly infringed, at least, the following claims: Claims 1 and 23 of the
 ’492 Patent; Claims 1, 15, and 21 of the ’711 Patent; Claims 1, 47, 59, and 67 of the ’451 Patent; Claims 18, 21, 28
 and 41 of the ’814 Patent; Claims 15 and 19 of the ’794 Patent; Claims 2, 8, 9, 16, 26, 27, 36, 41, 42, 43, 46, and 50
 of the ’471 Patent; Claim 34 of the ’853 Patent; and Claims 1, 31, and 48 of the ’611 Patent. Amazon III, 4:18-cv-
 474, (Dkt. #9, Exhibit 14).

                                                          57
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 one claim asserted here. Amazon III, 4:18-cv-474, (Dkt. #28, Exhibit 1 ¶ 17) (comparing claim 1

 of the ’798 Patent with claim 47 of the ’451 Patent). The claim Amazon uses to compare the

 present case to Amazon I was not used as an exemplary claim in the § 101 Order. See generally

 Amazon I, 227 F. Supp. 3d 582. Not only did Amazon present one claim comparison, the two

 claims were not identical as claim 1 of the ’798 Patent had undergone modifications since the ’451

 Patent. Amazon III, 4:18-cv-474, (Dkt. #28, Exhibit 1 ¶ 17). Moreover, as to the ’443 Patent,

 while Amazon shows the similarities between the claim language, it ignores the vast differences,

 including the addition of claim limitations. Amazon III, 4:18-cv-474, (Dkt. #28 at ¶ 14); (Dkt. #30

 at pp. 4–5). Amazon did not meet its burden to show significant overlap that would result in Judge

 O’Grady having extensive familiarity with the issues, technology, or patents-in-suit. See In re

 Echostar Corp., 388 F. App’x at 995 (finding mandamus relief not warranted when district judge

 did not transfer case when only four out of thirty-six patent claims overlapped in the two suits); j2

 Glob. Commc’ns, 2008 WL 5378010, at *5 (discussing the burden placed on the movant).

        As opposed to a focus on claim language, Vector’s first argument focuses on the actual

 familial relationship between the ’983 Patent and patents previously asserted. Vector avers that

 because the ’983 Patent is a continuation-in-part of the ’492 Patent, a continuation-in-part of the

 ’398 Patent, and shares a patent application with the ’844 Patent, the patents are closely related.

 However, as identified by Plaintiff, the ’983 Patent and the ’492 Patent are separated by eleven

 generations, including three continuations-in-part. Further, the ’398 Patent, and shared patent

 application are even farther down the line of prior art and add additional continuations-in-part.

 Accordingly, the Court is not convinced that simply because the ’983 Patent is within the same

 generational line of the ’492 Patent, the ’398 Patent, and shared patent application with the ’844




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 Patent, that they are similar enough to find Judge O’Grady has extensive familiarity with the ’983

 Patent, such that the Court should transfer the case to promote judicial economy.

         Vector and Honeywell also focus on the similarities in patent specifications and figures.

 Vector and Honeywell47 argue that the ’983 Patent shares several specifications and figures with

 the ’844 Patent. However, as identified by Plaintiff, while there is some overlap between the

 specifications and figures, there is still a substantial amount of new specifications and figures.

 Vector and Honeywell did not show a significant overlap between the issues Judge O’Grady faced

 in its previous cases and what the Court will see in this case.

         Finally, HTC’s argument focuses on the similarities between the technologies asserted in

 the previous case and the present case. HTC asserts that the claims asserted in this case contain,

 at least, an element of signal conversion technology, which is what Judge O’Grady analyzed in the

 § 101 Order. HTC focuses its argument on Claims 9 and 99 of the ’918 Patent.48 Plaintiff responds

 that it is not alleging infringement of any claims based solely on signal conversion technology,

 thereby withdrawing any assertion of Claims 1, 9, and 99 of the ’918 Patent. Plaintiff does,

 however, assert Claim 111 of the ’918 Patent, which Plaintiff maintains is removed outside of

 signal conversion technology and into smart home technology, although Plaintiff admits it contains

 an element of signal conversion technology. As such, according to Plaintiff, Judge O’Grady is not

 familiar with the technology. The Court first acknowledges that although there are three patents

 asserted against HTC, HTC focuses on a few claims from one patent. Moreover, the Court agrees

 with Plaintiff that “[w]hether done by this Court or by Judge O’Grady, a district court will be




 47
   The Court notes that Vector was more specific with its arguments, whereas Honeywell wrote in broader terms.
 48
   The only argument regarding the ’798 Patent is “VIS makes the identical infringement allegations with respect to
 the ’798 Patent.” HTC III, 4:18-cv-476, (Dkt. #22 at p. 12) (citing Dkt. #1 ¶¶ 49–50). It remains unclear whether
 HTC is comparing the infringement contentions regarding the ’798 Patent to HTC I or to HTC II. Regardless, HTC
 did not meet its burden to demonstrate the overlap by merely referring the Court to the filings in the present case.

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 required to learn about the Alexa technology and the smart home technology patent claims asserted

 by Innovation from scratch.” HTC III, 4:18-cv-476, (Dkt. #30 at p. 14). While there may be some

 overlap in the technology, HTC fails to meet its burden to show that the similarities in the

 technology were greater than the differences. See j2 Glob. Commc’ns, 2008 WL 5378010, at *5.

 Accordingly, the Court finds that Judge O’Grady is not extensively familiar with the smart home

 technology presented in this case to suggest judical economy would be increased by transferring

 the case.

                                       ii.   Systemic Integrity and Fairness

         Amazon and Vector also argue that Plaintiff’s “behavior is an affront to the ‘factors of

 systemic integrity and fairness’ that courts must consider when deciding whether to transfer.”

 Amazon III, 4:18-cv-474, (Dkt. #9 at p. 18) (citations omitted). Amazon and Vector maintain that

 Plaintiff exclusively filed in the Eastern District of Virginia “until it lost there. [Plaintiff] chose to

 file its second suit against Amazon in Virginia, but dismissed it when it became clear it would

 lose. [Plaintiff’s] attempt to re-assert the patents and claims in a different district lays its

 gamesmanship bare.” Amazon III, 4:18-cv-474, (Dkt. #9 at p. 18) (citations omitted). The Court

 is unpersuaded. Plaintiffs are allowed to file a lawsuit wherever permitted by the Federal Rules of

 Civil Procedure. Additionally, as previously discussed, Amazon and Vector have not met their

 burden to show Plaintiff acted in an unsavory manner in this case.

                                 b. Plaintiff’s Position

         Plaintiff argues that this factor weighs against transfer because the Eastern District of Texas

 is intimately familiar with Amazon and its products and because there are co-pending patent

 infringement cases here.




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          First, Plaintiff failed to adequately demonstrate how the similarities between cases in other

 divisions of this district49 would promote judicial economy. Thus, the Court is not convinced that

 any judicial economy is gained based on the prior cases against Amazon in the Eastern District.

          Regarding the claim that the co-pending infringement actions are all pending in the Eastern

 District of Texas, the Court is considering all of the motions together. As such, the Court does not

 find the fact that they are all pending to be a reason, by itself to weigh against transfer. However,

 the Court does find that this factor is concerned with having litigation involving the same patents

 and issues pending at the same time being litigated in the same court. Here, the four suits involve

 the same patents and will likely present the same or similar issues, demonstrated by the fact that

 the Court consolidated all four cases for pretrial purposes.

          The Court finds that some of the convenience factors as to Honeywell and Vector do favor

 transfer; however, finding that all factors weigh against transfer or are neutral as to Amazon and

 HTC. Accordingly, to the extent, any one case would be more convenient in the Eastern District

 of Virginia, this factor would weigh strongly against transfer, considering the fact that the patents

 asserted are the same.50 See Regents of Univ. of Cal., 119 F.3d at 1565 (holding “[c]onsideration

 of the interest of justice, which includes judicial economy, may be determinative to a particular

 transfer motion, even if the convenience of the parties and witnesses might call for a different

 result.”).




 49
    There are about 6 out of the 140 cases, excluding the one currently pending, related to Amazon and its products that
 were filed in the Sherman Division. Even as to these cases, Plaintiff has not met its burden to show any connection
 between the patents, products, or technology.
 50
    The Court does not find that this factor is determinative, but simply includes the finding when weighing all the
 public and private interest factors together.

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                                    c. Conclusion

         Based on the Court’s analysis of both Plaintiff’s and Defendants’ arguments, the Court

 finds this factor to mostly be neutral; however, to the extent necessary, finds this factor weighs

 against transfer.

              D. Public Interest Factors

         The public interest factors are: “(1) the administrative difficulties flowing from court

 congestion; (2) the local interest in having localized interests decided at home; (3) the familiarity

 of the forum with the law that will govern the case; and (4) the avoidance of unnecessary problems

 of conflict of law or in the application of foreign law.” Volkswagen II, Inc., 545 F.3d at 315.

                  1. Administrative Difficulties Flowing from Court Congestion

         In considering this factor, “the speed with which a case can come to trial and be resolved

 may be a factor.” In re Genentech, Inc., 566 F.3d at 1347 (citations omitted). The Federal Circuit

 has noted that this factor appears to be the most speculative, and case-disposition statistics may

 not always tell the whole story. Id.

         Defendants maintain that this factor weighs in favor of transferring the case to the Eastern

 District of Virginia because the median time for civil cases in the Eastern District of Virginia to

 get to trial is around twelve months compared to around nineteen months51 in the Eastern District

 of Texas. Amazon and Vector argue that the Eastern District of Virginia is known as the “rocket

 docket” for its speed in getting cases to trial and also points out that the Eastern District of Virginia

 does preside over patent cases. Honeywell additionally avers that transferring the case to the

 Eastern District of Virginia would reduce the burden on the Eastern District of Texas because the




 51
   Honeywell references that the median time to trial in the Eastern District of Virginia is 484 days compared to 728
 days in the Eastern District of Texas.

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 Eastern District of Texas has substantially more civil filings, specifically patent filings. As such,

 Honeywell maintains the Eastern District of Virginia has more time to handle the case.

        Plaintiff counters that the Eastern District of Texas is uniquely situated to administer these

 cases because of its intimate familiarity with patent cases and trials. Plaintiff asserts that between

 2012 and 2018, the Eastern District of Virginia had only six patent jury trials and one patent bench

 trial, whereas the Eastern District of Texas presided over 103 patent jury trials and nineteen patent

 bench trials, with the Sherman Division alone presiding over twelve patent jury trials. Moreover,

 Plaintiff asserts that the number of patent filings in the Eastern District of Texas has actually

 decreased by almost twenty-eight percent, reducing filings overall by ten percent since 2017 with

 the Supreme Court of the United States’ decision in TC Heartland, whereas the Eastern District of

 Virginia saw an increase. According to Plaintiff, the reduction in filings suggests that the Eastern

 District of Texas is better prepared to receive additional filings, and adding anymore to the Eastern

 District of Virginia would create a stronger burden.

        While a case may proceed to trial slightly faster in the Eastern District of Virginia than the

 Eastern District of Texas, the Court finds the time difference negligible, considering the amount

 of complex patent litigation cases taking place within the Eastern District of Texas. Complex

 cases, including patent cases, generally need more time for discovery and take longer to get to trial

 based on the nature of the case. As such, the discrepancy in the slight time difference can be

 attributed to the volume of patent infringement cases within the Eastern District of Texas.

 Moreover, the Court notes that the Eastern District of Texas has Local Rules specifically for patent

 cases to help the cases move through the litigation process efficiently. Therefore, the Court finds

 this factor to weigh against transfer for all Defendants.




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                     2. The Local Interest in Having Localized Interests Decided at Home

            The second public interest factor is the local interest in having localized interests decided

 at home. Volkswagen II, 545 F.3d at 315. “‘Jury duty is a burden that ought not to be imposed

 upon the people of a community which has no relation to the litigation.’” Affinity Labs of Tex. v.

 Samsung Elecs. Co., Ltd., 968 F. Supp. 2d 852, 855 (E.D. Tex. 2013) (quoting Volkswagen I, 371

 F.3d at 206)). The mere sale of “several” or “some” of the allegedly infringing products in a given

 district is not enough to shift this factor in favor of one party. See In re TS Tech USA Corp., 551

 F.3d 1315, 1321 (Fed. Cir. 2008). The Court will look to the interests that each district has, starting

 with the Eastern District of Texas then turning to the Eastern District of Virginia.

            Regarding the Eastern District of Texas’s interest in the case, the briefing is similar among

 all the motions to transfer. Plaintiff maintains that the Eastern District of Texas has a stronger

 local interest in this case because the district has a strong interest in litigating patent suits owned

 by a Texas company and because the district has an interest in alleged infringement by a company

 with office, personnel, and business within it.52 Defendants contest the allegations in a similar

 fashion; thus, the Court addresses the arguments together.

            Regarding Plaintiff’s location in the Eastern District of Texas, Defendants again argue that

 the Court should not afford any weight to Plaintiff’s relocation. As the Court has previously

 determined, the Court will not disregard Plaintiff’s relocation to Plano, Texas because Defendants

 did not meet its burden to show the relocation was an attempt to manufacture venue. Generally,

 when the plaintiff and owner of the patents-in-suit are located in a district, that district has a

 significant connection to the case. Cooktek Induction Sys., 2016 WL 4095547, at *3 (citing iFly

 Holdings, LLC v. Indoor Skydiving Ger. GMBH, No. 2:14-CV-1080,2015 WL 5909729, at *5



 52
      HTC is not included in this argument, as Plaintiff and HTC agree that HTC is based in Taipei, Taiwan.

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 (E.D. Tex. Oct. 7, 2015) (“Texas residents have a strong interest in deciding a patent infringement

 dispute involving a patent owned by a Texas company.”)). While this is true, the Court cannot

 ignore the effect that the recent move has on the strength of the connection. While the patent is

 owned by a Texas resident, the patent was not invented here and Dr. Anne Wong along with

 Plaintiff are recent Texas residents. As such, while the Court does consider the fact that Plaintiff

 is located in Plano, Texas, it does not find this fact to create a significant connection based on the

 facts of this case.

          Regarding the Defendants’ locations, Amazon and Vector do not contest that they have

 locations in the Eastern District of Texas. Honeywell did not contest that it had locations in the

 Eastern District of Texas; however, the Court is now looking at Resideo’s connections, and

 Resideo does not maintain an office in the Eastern District of Texas. While it is true that the

 Eastern District of Texas “has an interest in a case involving alleged patent infringement by a

 company with an office, personnel, and business within it,” E-System Design, Inc. v. Mentor

 Graphics Corp., No. 4:17-cv-682, 2018 WL 2463795, at *6 (E.D. Tex. June 1, 2018), the Court

 acknowledges that the offices, personnel, and businesses located in the Eastern District of Texas

 are not connected to the infringement or the accused products in this case. Moreover, Amazon’s

 fulfillment facility53 located within the Eastern District of Texas is not unique to the Eastern

 District of Texas and similar ones can be found nationwide. The Court disregards any interest that

 “could apply virtually to any judicial district or division in the United States[.]” Volkswagen II,

 545 F.3d at 318.

          Regarding the local interest of the Eastern District of Virginia, all Defendants present the

 argument that the Eastern District of Virginia has expended time and interest in learning the patents


 53
   Vector did not argue that the facilities it maintains are nationwide, such that there is a facility in virtually every
 district or division in the United Sates.

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 and technology asserted in this case. As the Court previously discussed, the Court does not find a

 substantial overlap between the present cases and those asserted in the Eastern District of Virginia.

 Just as the Court found this argument unpersuasive in the other practical problems factor, the Court

 is unpersuaded here.

        Moreover, Honeywell (Resideo) and Vector both have facilities in the Eastern District of

 Virginia. Neither maintain their headquarters in the Eastern District of Virginia, but the facilities

 located in the Eastern District of Virginia are connected to the Accused Honeywell

 Instrumentalities and the Accused Vector Instrumentalities. “[I]f there are significant connections

 between a particular venue and the events that gave rise to a suit, this factor should be weighed in

 that venue’s favor.” In re Acer Am. Corp., 626 F.3d at 1256. The Court finds that facilities

 associated with the design, development, and manufacturing of the accused products bear a

 significant connection.

        Considering the local interests of both courts for all Defendants, the Court finds this factor

 is neutral as to Amazon and HTC and weighs in favor of transfer as to Honeywell and Vector.

                3. The Remaining Public Interest Factors
        The parties agree that the remaining factors are neutral. Accordingly, the Court finds that

 the remaining factors are netural.

            E. Conclusion

        In summary, as to Amazon, the Court found that “the relative ease of access to sources of

 proof” factor weighs slightly against transfer, “the availability of compulsory process to secure the

 attendance of witnesses” factor weighs against transfer, “the cost of attendance for willing

 witnesses” factor weighs against transfer, the “all other practical problems that make a trial of a

 case easy, expeditious, and inexpensive” factor is neutral, “the administrative difficulties flowing


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 from court congestion” factor weighs against transfer, “the local interest in having localized

 interests decided at home” factor is neutral, “the familiarity of the forum with the law that will

 govern the case” factor is neutral, and “the avoidance of unnecessary problems of conflict of law

 or in the application of foreign law” factor is neutral. Volkswagen II, Inc., 545 F.3d at 315. As

 such, Amazon has not shown that the Eastern District of Virginia is “clearly more convenient”

 than the Eastern District of Texas. See id.

        As to Honeywell, the Court found that “the relative ease of access to sources of proof”

 factor is neutral, “the availability of compulsory process to secure the attendance of witnesses”

 factor weighs against transfer, “the cost of attendance for willing witnesses” factor is neutral, the

 “all other practical problems that make a trial of a case easy, expeditious, and inexpensive” factor

 weighs strongly against transfer, “the administrative difficulties flowing from court congestion”

 factor weighs against transfer, “the local interest in having localized interests decided at home”

 factor weighs in favor of transfer, “the familiarity of the forum with the law that will govern the

 case” factor is neutral, and “the avoidance of unnecessary problems of conflict of law or in the

 application of foreign law” factor is neutral. See id. As such, Honeywell has not shown that the

 Eastern District of Virginia is “clearly more convenient” than the Eastern District of Texas. See

 id.

        As to HTC, the Court found that “the relative ease of access to sources of proof” factor

 weighs slightly against transfer, “the availability of compulsory process to secure the attendance

 of witnesses” factor weighs against transfer, “the cost of attendance for willing witnesses” factor

 weighs against transfer, the “all other practical problems that make a trial of a case easy,

 expeditious, and inexpensive” factor is neutral, “the administrative difficulties flowing from court

 congestion” factor weighs against transfer, “the local interest in having localized interests decided



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 at home” factor is neutral, “the familiarity of the forum with the law that will govern the case”

 factor is neutral, and “the avoidance of unnecessary problems of conflict of law or in the

 application of foreign law” factor is neutral. See id. As such, HTC has not shown that the Eastern

 District of Virginia is “clearly more convenient” than the Eastern District of Texas. See id.

          Finally, as to Vector, the Court found that “the relative ease of access to sources of proof”

 factor weighs slightly in favor of transfer, “the availability of compulsory process to secure the

 attendance of witnesses” factor weighs against transfer, “the cost of attendance for willing

 witnesses” factor is neutral, the “all other practical problems that make a trial of a case easy,

 expeditious, and inexpensive” factor weighs strongly against transfer, “the administrative

 difficulties flowing from court congestion” factor weighs against transfer, “the local interest in

 having localized interests decided at home” factor weighs in favor of transfer, “the familiarity of

 the forum with the law that will govern the case” factor is neutral, and “the avoidance of

 unnecessary problems of conflict of law or in the application of foreign law” factor is neutral. See

 id. As such, Vector has not shown that the Eastern District of Virginia is “clearly more convenient”

 than the Eastern District of Texas. See id.

    IV.      Motion to Stay
          As the Court issues a ruling on the motions to transfer venue, the Court hereby denies the

 motion to stay as moot.

                                               CONCLUSION

          It is therefore ORDERED that Motion of Defendant Amazon.com, Inc. to Transfer Venue

 to the Eastern District of Virginia, Amazon III, 4:18-cv-474, (Dkt. #9) is hereby DENIED;

 Plaintiff’s Contested Motion to Substitute Party, Amazon III, 4:18-cv-474, (Dkt. #22) is hereby

 GRANTED; Motion to Stay of Amazon.com, Inc., Amazon Digital Services, LLC, and Amazon


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     Web Services, Inc. Pending Decision on Their Motion to Transfer Venue Pursuant to 28 U.S.C. §

     1404(a), Amazon III, 4:18-cv-474, (Dkt. #105) is hereby DENIED as moot; Honeywell

     International Inc.’s Motion to Dismiss for Improper Venue Under 28 U.S.C. § 1406, or, in the

     Alternative, to Transfer to a More Convenient Forum Under 28 U.S.C. § 1404, Resideo, 4:18-cv-

     475, (Dkt. #15) is hereby DENIED; Motion of Defendant HTC Corporation to Transfer Venue to
.
     the Eastern District of Virginia, HTC III, 4:18-cv-476, (Dkt. #22) is hereby DENIED; and Motion

     of Defendant Vector Security, Inc. to Transfer Venue to the Eastern District of Virginia Pursuant

     to 28 U.S.C. § 1404(a), Vector, 4:18-cv-477, (Dkt. #16) is hereby DENIED.

           SIGNED this 15th day of July, 2019.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE




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